       Case
       Case1:18-cr-00098-SCJ-LTW
            1:18-cr-00098-SCJ-LTW Document
                                  Document233
                                           231 Filed
                                               Filed09/14/22
                                                     09/14/22 Page
                                                              Page11of
                                                                     of43
                                                                        1

                          UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   2211 UNITED STATES COURTHOUSE
                                      75 TED TURNER DRIVE, SW
                                    ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                  DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                                  404-215-1655
AND CLERK OF COURT
                                           September 14, 2022

Clerk's Office - USCA No. 00-00000-00
U.S. Court of Appeals
Eleventh Circuit
56 Forsyth Street, NW
Atlanta, Georgia 30303

        Re:        United States of America v. Mitzi Bickers
                   USDC Criminal No. 1:18-cr-98-SCJ-LTW-1

       Enclosed are documents regarding an appeal in the action referenced above. Please
acknowledge receipt of same on the enclosed copy of this letter.

        Certified copy of notice of appeal, docket, order and/or judgment, and commitment
   X    appealed from enclosed.

        Original non-electronic record exhibits transmitted pursuant to request. (See attached copy of
        request.)

   X    Appeal fees HAVE been paid electronically. (Receipt# AGANDC-12065702)

        Certified copy of order appointing Federal Defender Program enclosed.

        Certified copy of CJA order appointing counsel enclosed.

        Appellant has been forwarded an application to proceed IFP.

        Appellant has been leave to proceed IFP, copy of order enclosed.

        An appeal bond has been denied.

   X    District Judge appealed from is Honorable Steve C. Jones.

        Other: .

The enclosed certified, record on appeal consists of:

         Volume(s) of pleadings                                 Envelope of Exhibits

         Volume(s) of transcripts.                              PSI enclosed. (SEALED)

                                                        Sincerely,

                                                        Kevin P. Weimer
                                                        Clerk of Court

                                                  By:   /s/P. McClam
Enclosures                                              Deputy Clerk




                                                                                                         43
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                                                      APPEAL,CLOSED,CertRdyTrl,LONG,PROTO
                          U.S. District Court
                 Northern District of Georgia (Atlanta)
       CRIMINAL DOCKET FOR CASE #: 1:18−cr−00098−SCJ−LTW−1

Case title: USA v. Bickers                                Date Filed: 03/27/2018

                                                          Date Terminated: 09/09/2022

Assigned to: Judge Steve C. Jones
Referred to: Magistrate Judge
Linda T. Walker

Defendant (1)
Mitzi Bickers                       represented by Drew Findling
TERMINATED: 09/09/2022                             The Findling Law Firm, P.C.
                                                   3490 Piedmont Road NE
                                                   Suite 600
                                                   One Securities Centre
                                                   Atlanta, GA 30305
                                                   404−460−4500
                                                   Email: drew@findlinglawfirm.com
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                  Marissa Helene Goldberg
                                                  Findling Law Firm, P.C.
                                                  Suite 600, One Securities Centre
                                                  3490 Piedmont Road
                                                  Atlanta, GA 30305
                                                  404−460−4500
                                                  Email: marissa@findlinglawfirm.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Retained

                                                  Michael B. Wallace
                                                  Law Office of Mike Wallace
                                                  5445 Peachtree Dunwoody Rd.
                                                  Atlanta, GA 30342
                                                  404−424−9887
                                                  Fax: 404−935−0902
                                                  Email: attywallace@hotmail.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Retained

                                                  Zachary J. Kelehear
                                                  Findling Law Firm, P.C.
                                                  Suite 600, One Securities Centre
                                                  3490 Piedmont Road

                                                                                            1
   Case 1:18-cr-00098-SCJ-LTW Document 233 Filed 09/14/22 Page 3 of 43


                                         Atlanta, GA 30305
                                         404−460−4500
                                         Email: zack@findlinglawfirm.com
                                         ATTORNEY TO BE NOTICED
                                         Designation: Retained

Pending Counts                           Disposition
18:371 − CONSPIRACY TO
DEFRAUD THE UNITED
                                         Count(s) dismissed.
STATES
(1−2)
                                         CBOP ONE HUNDRED SIXTY−EIGHT (168)
                                         MONTHS: sixty (60) months as to Count 1; one
                                         hundred twenty (120) months as to Counts 4−6; one
                                         hundred sixty−eight (168) months as to Counts
                                         7−10; and thirty−six (36) months as to Count 12,
                                         with all such terms to be served
18:371 CONSPIRACY TO
                                         CONCURRENTLY; Supervised Release for
DEFRAUD THE UNITED
                                         THREE (3) YEARS: three (3) years as to Counts 1
STATES
                                         and 4−10 and one (1) year as to Count 12, with all
(1s)
                                         terms to run CONCURRENTLY; $900 Special
                                         Assessment; Restitution to City of Atlanta −
                                         Department of Law in the amount of $2,955,106.51,
                                         to be paid jointly and severally with Elvin R.
                                         Mitchell, Jr. (1:17−CR−0015−SCJ) and Charles P.
                                         Richards, Jr. (1−17−CR−0030−SCJ)
18:371 CONSPIRACY TO
DEFRAUD THE UNITED                       The defendant has been found not guilty on
STATES                                   Count(s) 2,3, 11.
(2s)
18:1957 and 2 − ENGAGING IN
MONETARY TRANSACTIONS                    Count(s) dismissed.
(3−5)
18:666(a)(2) and Section 2
CONVERTS TO OWN USE                      The defendant has been found not guilty on
PROPERTY OF ANOTHER                      Count(s) 2,3, 11.
(3s)
18:1957 and Section 2                    CBOP ONE HUNDRED SIXTY−EIGHT (168)
INTERSTATE COMMERCE                      MONTHS: sixty (60) months as to Count 1; one
(4s−6s)                                  hundred twenty (120) months as to Counts 4−6; one
                                         hundred sixty−eight (168) months as to Counts
                                         7−10; and thirty−six (36) months as to Count 12,
                                         with all such terms to be served
                                         CONCURRENTLY; Supervised Release for
                                         THREE (3) YEARS: three (3) years as to Counts 1
                                         and 4−10 and one (1) year as to Count 12, with all
                                         terms to run CONCURRENTLY; $900 Special
                                         Assessment; Restitution to City of Atlanta −
                                         Department of Law in the amount of $2,955,106.51,

                                                                                              2
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                                         to be paid jointly and severally with Elvin R.
                                         Mitchell, Jr. (1:17−CR−0015−SCJ) and Charles P.
                                         Richards, Jr. (1−17−CR−0030−SCJ)
18:1343 and 1349 − FRAUD BY
WIRE, RADIO, OR
                                         Count(s) dismissed.
TELEVISION
(6−9)
                                         CBOP ONE HUNDRED SIXTY−EIGHT (168)
                                         MONTHS: sixty (60) months as to Count 1; one
                                         hundred twenty (120) months as to Counts 4−6; one
                                         hundred sixty−eight (168) months as to Counts
                                         7−10; and thirty−six (36) months as to Count 12,
                                         with all such terms to be served
18:1343 and 1349 FRAUD BY
                                         CONCURRENTLY; Supervised Release for
WIRE, RADIO, OR
                                         THREE (3) YEARS: three (3) years as to Counts 1
TELEVISION
                                         and 4−10 and one (1) year as to Count 12, with all
(7s−10s)
                                         terms to run CONCURRENTLY; $900 Special
                                         Assessment; Restitution to City of Atlanta −
                                         Department of Law in the amount of $2,955,106.51,
                                         to be paid jointly and severally with Elvin R.
                                         Mitchell, Jr. (1:17−CR−0015−SCJ) and Charles P.
                                         Richards, Jr. (1−17−CR−0030−SCJ)
18:1512(b)(3) and 2 −
INTIMIDATION OR FORCE
                                         Count(s) dismissed.
AGAINST WITNESS
(10)
26:7206(1) − FRAUD AND
FALSE STATEMENTS                         Count(s) dismissed.
(11)
18:1512(b)(3) and Section 2
INTIMIDATION OR FORCE                    The defendant has been found not guilty on
AGAINST WITNESS                          Count(s) 2,3, 11.
(11s)
                                         CBOP ONE HUNDRED SIXTY−EIGHT (168)
                                         MONTHS: sixty (60) months as to Count 1; one
                                         hundred twenty (120) months as to Counts 4−6; one
                                         hundred sixty−eight (168) months as to Counts
                                         7−10; and thirty−six (36) months as to Count 12,
                                         with all such terms to be served
26:7206(1) FRAUD AND FALSE               CONCURRENTLY; Supervised Release for
STATEMENTS                               THREE (3) YEARS: three (3) years as to Counts 1
(12s)                                    and 4−10 and one (1) year as to Count 12, with all
                                         terms to run CONCURRENTLY; $900 Special
                                         Assessment; Restitution to City of Atlanta −
                                         Department of Law in the amount of $2,955,106.51,
                                         to be paid jointly and severally with Elvin R.
                                         Mitchell, Jr. (1:17−CR−0015−SCJ) and Charles P.
                                         Richards, Jr. (1−17−CR−0030−SCJ)



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Highest Offense Level (Opening)
Felony

Terminated Counts                          Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                 Disposition
None



Claimant
Anytime Bail Bonding, Inc.           represented by Brian Steel
                                                    The Steel Law Firm
                                                    1800 Peachtree Street, N.W.
                                                    Suite 300
                                                    Atlanta, GA 30309
                                                    404−605−0023
                                                    Email: thesteellawfirm@msn.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained

                                                    Colette Resnik Steel
                                                    The Steel Law Firm
                                                    1800 Peachtree Street, N.W.
                                                    Suite 300
                                                    Atlanta, GA 30309
                                                    404−605−0023
                                                    Email: thesteellawfirm@msn.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained



Plaintiff
USA                                  represented by Jeffrey W. Davis
                                                    Office of the United States
                                                    Attorney−ATL600
                                                    Northern District of Georgia
                                                    600 United States Courthouse
                                                    75 Ted Turner Dr., S.W.
                                                    Atlanta, GA 30303

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                                            (404) 581−6323
                                            Email: jeffrey.davis2@usdoj.gov
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED
                                            Designation: Retained

                                            Kurt R. Erskine
                                            Office of the United States
                                            Attorney−ATL600
                                            Northern District of Georgia
                                            600 United States Courthouse
                                            75 Ted Turner Dr., S.W.
                                            Atlanta, GA 30303
                                            404−581−6031
                                            Fax: 404−581−6181
                                            Email: kurt.erskine@usdoj.gov
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED
                                            Designation: Retained

                                            Erin Sanders
                                            Office of the United States
                                            Attorney−ATL600
                                            Northern District of Georgia
                                            600 United States Courthouse
                                            75 Ted Turner Dr., S.W.
                                            Atlanta, GA 30303
                                            404−581−6000
                                            Email: erin.sanders@usdoj.gov
                                            ATTORNEY TO BE NOTICED
                                            Designation: Retained

                                            Kelly Kathleen Connors
                                            Office of the United States
                                            Attorney−ATL600
                                            Northern District of Georgia
                                            600 United States Courthouse
                                            75 Ted Turner Dr., S.W.
                                            Atlanta, GA 30303
                                            404−581−4639
                                            Email: kelly.connors@usdoj.gov
                                            ATTORNEY TO BE NOTICED
                                            Designation: Retained

                                            Nathan Parker Kitchens
                                            Office of the United States
                                            Attorney−ATL600
                                            Northern District of Georgia
                                            600 United States Courthouse
                                            75 Ted Turner Dr., S.W.
                                            Atlanta, GA 30303
                                            404−581−6185


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                                                                        Email: nathan.kitchens@usdoj.gov
                                                                        ATTORNEY TO BE NOTICED
                                                                        Designation: Retained

                                                                        Tiffany Rene Dillingham
                                                                        Office of the United States
                                                                        Attorney−ATL600
                                                                        Northern District of Georgia
                                                                        600 United States Courthouse
                                                                        75 Ted Turner Dr., S.W.
                                                                        Atlanta, GA 30303
                                                                        404−581−6003
                                                                        Fax: 404−581−6181
                                                                        Email: tiffany.dillingham@usdoj.gov
                                                                        ATTORNEY TO BE NOTICED
                                                                        Designation: Retained

Date Filed    #    Page Docket Text
03/27/2018     1        INDICTMENT, with Forfeiture Provision, as to Mitzi Bickers (1) count(s) 1−2, 3−5, 6−9, 10, 11.
                        (ddm) (Entered: 03/29/2018)
03/27/2018     2        MOTION to Seal Indictment by USA as to Mitzi Bickers. (ddm) (Entered: 03/29/2018)
03/27/2018     3        ORDER granting 2 Motion to Seal Indictment as to Mitzi Bickers (1). Signed by Magistrate Judge
                        Justin S Anand on 3/27/18. (ddm) (Entered: 03/29/2018)
03/27/2018     4        Defendant Information Sheet as to Mitzi Bickers. (ddm) (Entered: 03/29/2018)
03/27/2018     5        Praecipe filed. Arrest Warrant Issued as to Mitzi Bickers. (ddm) (Entered: 03/29/2018)
04/04/2018     6        MOTION to Unseal Indictment by USA as to Mitzi Bickers. (jpa) (Entered: 04/04/2018)
04/04/2018     7        ORDER granting 6 Motion to Unseal Case as to Mitzi Bickers (1). Signed by Magistrate Judge
                        Russell G. Vineyard on 4/4/18. (jpa) (Entered: 04/04/2018)
04/05/2018              Case as to Mitzi Bickers Assigned to District Judge Steve C Jones and Magistrate Judge Linda T.
                        Walker. (rjs) (Entered: 04/05/2018)
04/05/2018     8        NOTICE OF ATTORNEY APPEARANCE Kelly Kathleen Connors appearing for USA. for asset
                        forfeiture issues (Connors, Kelly) (Entered: 04/05/2018)
04/05/2018     9        Minute Entry for proceedings held before Magistrate Judge Russell G. Vineyard: INITIAL
                        APPEARANCE and ARRAIGNMENT with a PLEA of NOT GUILTY by Mitzi Bickers (1) on
                        Counts 1 through 11. Order Giving Defendant 10 days to Employ Counsel. Bond Hearing held.
                        Surety Bond set to $50,000. Bond filed; Defendant Released. Estimated Trial Time−Long. (Tape
                        #FTR Gold) (rjs) (Entered: 04/05/2018)
04/05/2018    10        ORDER GRANTING Defendant's request for additional time to obtain counsel as to Mitzi Bickers.
                        If counsel has not been retained by the allotted time, Defendant shall appear on 4/16/2018 at 2:00
                        p.m. before Judge Magistrate Judge Russell G. Vineyard for a determination as to whether counsel
                        should be appointed. The Clerk is DIRECTED to exclude time in the case from 4/5/2018 until
                        counsel has appeared for Defendant Mitzi Bickers or until further order of the Court. Signed by
                        Magistrate Judge Russell G. Vineyard on 4/5/2018. (rjs) (Entered: 04/05/2018)
04/05/2018    11

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                      ORDER Setting Conditions of Release as to Mitzi Bickers. Signed by Magistrate Judge Russell G.
                      Vineyard on 4/5/2018. (rjs) (Entered: 04/05/2018)
04/05/2018    12      Appearance Bond (Secured Bond) Entered as to Mitzi Bickers in amount of $ 50,000, Surety: Brent
                      Floyd, 107 Peachtree St., S.W. Atlanta GA 30303. (rjs) (Entered: 04/06/2018)
04/13/2018    13      NOTICE OF ATTORNEY APPEARANCE: Michael B. Wallace appearing on behalf of Mitzi
                      Bickers (Attachments: # 1 Certificate of Service)(Wallace, Michael) (Entered: 04/13/2018)
04/13/2018            NOTICE OF CANCELLATION OF HEARING re: 10 Order. Michael B. Wallace filed his
                      appearance on 4/13/2018 for Mitzi Bickers. (aez) (Entered: 04/13/2018)
04/13/2018    14      Arrest Warrant Returned Executed on 4/5/2018 as to Mitzi Bickers. Arrested at FBI #71557−019.
                      (rjs) (Entered: 04/13/2018)
04/13/2018    15      PRETRIAL SCHEDULING ORDER as to Mitzi Bickers. Pretrial Conference set for 4/24/2018 at
                      10:00 AM in ATLA Courtroom 1860 before Magistrate Judge Linda T. Walker. Signed by
                      Magistrate Judge Linda T. Walker on 4/13/18. (jpa) (Additional attachment(s) added on 4/16/2018:
                      # 1 Corrected Main Document) (jpa). (Entered: 04/16/2018)
04/16/2018    16      Notice for Leave of Absence for the following date(s): May 24, 2018 to June 11, 2018, by Jeffrey
                      W. Davis. (Davis, Jeffrey) (Entered: 04/16/2018)
04/19/2018    17      First MOTION for Extension of Time Pretrial Motions by Mitzi Bickers. (Attachments: # 1 Text of
                      Proposed Order Extending Time) (Wallace, Michael) (Entered: 04/19/2018)
04/20/2018    18      Notice for Leave of Absence for the following date(s): June 14, 2018 through June 27, 2018 and
                      July 16, 2018 through July 20, 2018, by Kurt R. Erskine. (Erskine, Kurt) (Entered: 04/20/2018)
04/20/2018    19      MOTION for Extension of Time Initial Pretrial Conference by Mitzi Bickers. (Attachments: # 1
                      Text of Proposed Order Pretrial Conference) (Wallace, Michael) (Entered: 04/20/2018)
04/20/2018    20      Unopposed MOTION for Protective Order for Discovery Materials by USA as to Mitzi Bickers.
                      (Attachments: # 1 Text of Proposed Order) (Erskine, Kurt) (Entered: 04/20/2018)
04/23/2018    21      ORDER granting 19 Motion for Extension of Time as to Mitzi Bickers (1). The pretrial conference
                      in this matter will be rescheduled to be held on the 4th day of June, 2018 at 10:30 A.M. The delay
                      between original and rescheduled pretrial conferences shall be excluded from the Speedy Trial Act
                      calculations because the Court finds that the reasons for the delay is for good cause and the interest
                      of justice in granting the continuance outweighs the public's and the defendant's rights to a speedy
                      trial. Signed by Magistrate Judge Linda T. Walker on 4/23/2018. (rjs) (Entered: 04/23/2018)
04/24/2018    22      PROTECTIVE ORDER FOR DISCOVERY MATERIALS granting 20 Motion for Protective Order
                      as to Mitzi Bickers (1). Signed by Magistrate Judge Linda T. Walker on 4/24/2018. (rjs) (Entered:
                      04/24/2018)
04/25/2018    23      NOTICE OF FILING Lis Pendens re: Forfeiture as to Mitzi Bickers filed by USA (Attachments: # 1
                      3306 Bay View Drive lis pendens)(Connors, Kelly) (Entered: 04/25/2018)
05/24/2018    24      Notice for Leave of Absence for the following date(s): August 2 to 3, 2018, by Jeffrey W. Davis.
                      (Davis, Jeffrey) (Entered: 05/24/2018)
06/01/2018    25      NOTICE OF ATTORNEY APPEARANCE: Drew Findling appearing on behalf of Mitzi Bickers
                      (Findling, Drew) (Entered: 06/01/2018)
06/01/2018    26      Request for Leave of Absence for the following date(s): 6/14/18 − 7/3/18, 7/23/18 − 7/30/18,
                      8/23/18 − 8/24/18, 9/13/18 − 9/14/18, 10/11/18 − 10/12/18, 10/24/18 − 10/26/18, 11/8−11/9/18,


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                      11/15/18 − 11/16/18, by Drew Findling. (Findling, Drew) (Entered: 06/01/2018)
06/01/2018    27      NOTICE OF ATTORNEY APPEARANCE: Marissa Helene Goldberg appearing on behalf of Mitzi
                      Bickers (Goldberg, Marissa) (Entered: 06/01/2018)
06/01/2018    28      Request for Leave of Absence for the following date(s): 6/18/18 − 6/22/18, 7/27/2018, by Marissa
                      Helene Goldberg. (Goldberg, Marissa) (Entered: 06/01/2018)
06/01/2018    29      MOTION to Continue pretrial conference by Mitzi Bickers. (Findling, Drew) (Entered: 06/01/2018)
06/04/2018    30      ORDER granting 29 Motion for Continuance of the pretrial conference as to Mitzi Bickers (1). The
                      Pretrial Conference is reset for 7/9/2018 at 09:30 AM before Magistrate Judge Linda T. Walker.
                      Further, the Court finds that the ends of justice will be served by granting this motion and the time
                      period of the continuance will be excluded from computation under the Speedy Trial Act. Signed by
                      Magistrate Judge Linda T. Walker on 6/4/18. (jpa) (Entered: 06/05/2018)
06/14/2018    31      Notice for Leave of Absence for the following date(s): July 12, 2018 through July 23, 2018, by
                      Kelly Kathleen Connors. (Connors, Kelly) (Entered: 06/14/2018)
06/26/2018    32      NOTICE OF ATTORNEY APPEARANCE Erin Sanders appearing for USA. (Sanders, Erin)
                      (Entered: 06/26/2018)
07/02/2018    33      Request for Leave of Absence for the following date(s): 8/17/18, 9/17/18, 12/6/18 − 12/7/18, 1/7/19
                      − 1/8/19, 1/10/19 − 1/11/19, 1/21/19 − 1/23/19, 2/13/19 − 2/15/19, 4/5/19, 4/11/19, 5/1/19 − 5/3/19,
                      by Drew Findling. (Findling, Drew) (Entered: 07/02/2018)
07/06/2018    34      Unopposed MOTION for Extension of Time to file Pretrial Motions by Mitzi Bickers. (Findling,
                      Drew) (Entered: 07/06/2018)
07/10/2018            NOTICE OF HEARING as to Mitzi Bickers. STATUS CONFERENCE set for 7/24/2018 at 10:00
                      AM in ATLA Courtroom 1860 before Magistrate Judge Linda T. Walker. (slc) (Entered:
                      07/10/2018)
07/10/2018    35      ORDER granting 34 Motion for Extension of Time as to Mitzi Bickers (1). The pretrial conference
                      in this matter will be rescheduled to be held on August 15, 2018 at 10:00 a.m., before the
                      undersigned magistrate judge. The delay between original and rescheduled pretrial conferences shall
                      be excluded from the Speedy Trial Act calculations because the Court finds that the reasons for the
                      delay is for good cause and the interest of justice in granting the continuance outweighs the public's
                      and the defendant's rights to a speedy trial. Signed by Magistrate Judge Linda T. Walker on
                      7/9/2018. (rjs) (Entered: 07/10/2018)
08/15/2018    36      Minute Entry for proceedings held before Magistrate Judge Linda T. Walker: Pretrial Conference as
                      to Mitzi Bickers. Issues regarding discovery and how the government would provide it to defendant
                      were discussed. The parties acknowledged that there is an extraordinary amount of discovery and
                      until it was sorted through, pretrial motions could not nor would be filed. The court continued the
                      hearing to November 15, 2018 at 10:00AM. Hearing concluded. The parties shall have until
                      11/15/2018 to file any additional motions. This extension is necessary for effective preparation. The
                      delay occasioned by this extension shall be considered a period of excludable delay pursuant to 18
                      U.S.C.§3161(h)(7)(A) because the court found it needed to allow reasonable time for preparation
                      and also found that the ends of justice served thereby outweigh the interests of the public and the
                      defendant in a speedy trial. (jpa) (Entered: 08/17/2018)
09/14/2018    37      Notice for Leave of Absence for the following date(s): office September 24, 2018 through
                      September 28, 2018, November 23, 2018 and December 24, 2018 through January 4, 2019, by
                      Kelly Kathleen Connors. (Connors, Kelly) (Entered: 09/14/2018)



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09/18/2018    38       Request for Leave of Absence for the following date(s): 10/18−19/2018,11/29−30/2018, by Drew
                       Findling. (Findling, Drew) (Entered: 09/18/2018)
10/09/2018    39       Request for Leave of Absence for the following date(s): 11/22−23/2018,12/24−28/2018, by Marissa
                       Helene Goldberg. (Goldberg, Marissa) (Entered: 10/09/2018)
10/15/2018    40       Notice for Leave of Absence for the following date(s): November 20, 2018 to November 23, 2018,
                       December 27, 2018 to December 31, 2018, and January 2, 2019 to January 4, 2019, by Kurt R.
                       Erskine. (Erskine, Kurt) (Entered: 10/15/2018)
10/22/2018    41       SUPERSEDING INDICTMENT with FORFEITURE PROVISION as to Mitzi Bickers (1) count(s)
                       1s−2s, 3s, 4s−6s, 7s−10s, 11s, 12s. (rjs) (Entered: 10/23/2018)
10/22/2018    42       Defendant Information Sheet as to Mitzi Bickers. (rjs) (Entered: 10/23/2018)
10/22/2018    43       Request for Arraignment as to Mitzi Bickers. (rjs) (Entered: 10/23/2018)
10/23/2018    44       Summons Issued as to Mitzi Bickers: Arraignment set for 11/5/2018 at 9:30 AM in ATLA
                       Courtroom 1875 before Magistrate Judge Justin S. Anand. (rjs) (Entered: 10/23/2018)
11/05/2018    45       WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by Mitzi Bickers.
                       (rjs) (Entered: 11/06/2018)
11/05/2018    46       Minute Entry for proceedings held before Magistrate Judge Justin S. Anand: ARRAIGNMENT
                       with a PLEA of NOT GUILTY by Mitzi Bickers (1) Count 1s−2s,3s,4s−6s,7s−10s,11s,12s. (Tape
                       #FTR) (rjs) (Entered: 11/06/2018)
11/07/2018    47       PRETRIAL SCHEDULING ORDER as to Mitzi Bickers. Pretrial Conference set for 11/29/2018 at
                       09:30 AM in ATLA Courtroom 1860 before Magistrate Judge Linda T. Walker. Signed by
                       Magistrate Judge Linda T. Walker on 11/7/18. (jpa) (Entered: 11/08/2018)
11/21/2018    48       Unopposed MOTION to Continue pretrial conference by Mitzi Bickers. (Attachments: # 1 Text of
                       Proposed Order) (Findling, Drew) (Entered: 11/21/2018)
12/04/2018    49       ORDER granting 48 Motion for Continuance of Pretrial Conference as to Mitzi Bickers (1). Pretrial
                       Conference set for March 4, 2019 at 11:00 AM before Magistrate Judge Linda T. Walker. The
                       Court finds that the ends of justice will be served by granting this motion and the time period of the
                       continuance will be excluded from computation under the Speedy Trial Act pursuant to 18 U.S.C. §
                       3161 (7)(A). Signed by Magistrate Judge Linda T. Walker on 12/4/2018. (rjs) (Entered: 12/04/2018)
02/13/2019    50       Request for Leave of Absence for the following date(s): 3/8/19, 3/28/19 − 3/29/19, 4/3/19 − 4/5/19,
                       4/25/19 − 4/26/19, 5/2/19 − 5/3/19, 5/16/19 − 5/17/19, 5/30/19 − 5/31/19, 6/18/19 − 7/5/2019,
                       7/31/19 − 8/2/19, by Drew Findling. (Findling, Drew) (Entered: 02/13/2019)
02/27/2019    51       Unopposed MOTION to Continue pretrial conference by Mitzi Bickers. (Findling, Drew) (Entered:
                       02/27/2019)
03/01/2019    52       ORDER GRANTING 51 Motion for Continuance of Pretrial Conference as to Mitzi Bickers (1).
                       Pretrial Conference continued to 3/13/2019 at 10:00 AM before Magistrate Judge Linda T. Walker.
                       The Court finds that the ends of justice will be served by granting this motion and the time period of
                       the continuance will be excluded from computation under the Speedy Trial Act pursuant to 18
                       U.S.C. § 3161 (7)(A). Signed by Magistrate Judge Linda T. Walker on 3/1/2019. (cmd) (Entered:
                       03/01/2019)
03/11/2019    53       MOTION for Bill of Particulars and MOTION to Strike Surplusage by Mitzi Bickers. (Findling,
                       Drew). Added MOTION to Strike on 3/12/2019 (rjs). (Entered: 03/11/2019)



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03/11/2019    54       MOTION to Dismiss Counts Mitzi Bickers (1) Count 7s−10s by Mitzi Bickers. (Findling, Drew)
                       (Entered: 03/11/2019)
03/11/2019    55       MOTION for Production of Brady Materials by Mitzi Bickers. (Findling, Drew) (Entered:
                       03/11/2019)
03/11/2019    56       MOTION for early production of Jencks Material and production of government's case−in−chief
                       documents and witnesses by Mitzi Bickers. (Findling, Drew) (Entered: 03/11/2019)
03/12/2019    57       MOTION to Admit Business Records by USA as to Mitzi Bickers. (Sanders, Erin) (Entered:
                       03/12/2019)
03/13/2019    59       Minute Entry for proceedings held before Magistrate Judge Linda T. Walker: Pretrial Conference.
                       DFT#1− 53 Motion for Bill of Particulars TAKEN UNDER ADVISEMENT Government requested
                       45 days to file a response. The request was granted. The defendant shall have 21 days to file a reply.
                       DFT#1− 53 Motion to Strike TAKEN UNDER ADVISEMENT Government requested 45 days to
                       file a response. The request was granted. The defendant shall have 21 days to file a reply. DFT#1−
                       54 Motion to Dismiss Counts TAKEN UNDER ADVISEMENT Government requested 45 days to
                       file a response. The request was granted. The defendant shall have 21 days to file a reply. DFT#1−
                       55 Motion for Production of Brady Materials DEFERRED to the district court for a ruling. DFT#1−
                       56 Motion for Jencks Material TAKEN UNDER ADVISEMENT After the PTC, Government
                       requested 45 days to file a response. The request is granted. The defendant shall have 21 days to file
                       a reply. DFT#1− 57 Motion for Miscellaneous Relief DEFERRED to the district court for a ruling.
                       (Tape #FTR Gold) (rjs) (Entered: 03/19/2019)
03/15/2019    58       Notice for Leave of Absence for the following date(s): April 1, 2019 through April 5, 2019; April
                       16, 2019 through April 18, 2019; May 13, 2019 through May 17, 2019; and June 7, 2019 through
                       June 17, 2019, by Kelly Kathleen Connors. (Connors, Kelly) (Entered: 03/15/2019)
03/21/2019    60       Notice for Leave of Absence for the following date(s): April 25 to 29; May 6 to 10; and August 5 to
                       9, 2019, by Jeffrey W. Davis. (Davis, Jeffrey) (Entered: 03/21/2019)
03/26/2019    61       Notice for Leave of Absence for the following date(s): August 12 − August 30, 2019, by Erin
                       Sanders. (Sanders, Erin) (Entered: 03/26/2019)
04/16/2019    62       Notice for Leave of Absence for the following date(s): May 22, 2019 through May 24, 2019; July 1,
                       2019 through July 5, 2019; July 15, 2019 through July 19, 2019; July 29, 2019 through July 31,
                       2019; and September 20, 2019 through September 30, 2019, by Kelly Kathleen Connors. (Connors,
                       Kelly) (Entered: 04/16/2019)
04/29/2019    63       RESPONSE in Opposition as to Mitzi Bickers filed by USA re 53 MOTION for Bill of Particulars
                       and to Strike Surplusage MOTION to Strike (Sanders, Erin) (Entered: 04/29/2019)
04/29/2019    64       RESPONSE in Opposition as to Mitzi Bickers filed by USA re 54 MOTION to Dismiss Counts
                       Mitzi Bickers (1) Count 7s−10s (Sanders, Erin) (Entered: 04/29/2019)
04/29/2019    65       RESPONSE in Opposition as to Mitzi Bickers filed by USA re 56 MOTION for early production of
                       Jencks Material and production of government's case−in−chief documents and witnesses (Sanders,
                       Erin) (Entered: 04/29/2019)
05/20/2019    66       REPLY TO RESPONSE to Motion as to Mitzi Bickers filed by Mitzi Bickers re: 54 MOTION to
                       Dismiss Counts Mitzi Bickers (1) Count 7s−10s (Goldberg, Marissa) (Entered: 05/20/2019)
07/01/2019    67       Notice for Leave of Absence for the following date(s): July 15 to 16; July 25 to 26; August 28 to 29;
                       September 6 to 16; and October 4, 2019., by Jeffrey W. Davis. (Davis, Jeffrey) (Entered:
                       07/01/2019)


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07/03/2019    68       ORDER TO CONTINUE − Ends of Justice as to Mitzi Bickers; Defendant shall have through
                       07/17/2019 in which to file a reply to docs 53 and 56 . If Defendant decides that no reply is needed,
                       the matter will be submitted to the Court for a recommendation 07/18/2019. Time excluded from
                       05/21/2019 until 07/17/2019. APPROVED by Magistrate Judge Linda T. Walker on 07/03/2019.
                       (slc) (Entered: 07/03/2019)
07/31/2019    69       Request for Leave of Absence for the following date(s): 9/30/19 − 10/1/19, 10/9/19 − 10/15/19,
                       11/27/19 − 11/29/19, 12/23/19 − 12/31/19, by Marissa Helene Goldberg. (Goldberg, Marissa)
                       (Entered: 07/31/2019)
08/13/2019    70       Request for Leave of Absence for the following date(s): 9/5/19 − 9/6−19, 9/18/19 − 9/20/19,
                       10/1/19 − 10/4/19, 10/10/19 − 10/11/19, 10/22/19 − 10/25/19, 12/5/19 − 12/6/19, 12/23/2019,
                       12/26/19 − 1/3/20 by Drew Findling. (Findling, Drew) (Entered: 08/13/2019)
09/17/2019    71       ORDER AND FINAL REPORT AND RECOMMENDATION as to Mitzi Bickers. The Court
                       recommends that Defendant's Motion to Strike Surplusage 53 and her Motion to Dismiss Counts 54
                       be DENIED and that any reconsideration of these motions occur after introduction of the
                       Government's evidence at trial. Signed by Magistrate Judge Linda T. Walker on 9/17/19. (jdb)
                       (Entered: 09/17/2019)
09/17/2019             ORDER denying 53 Motion for Bill of Particulars and denying 56 Motion for Early Disclosure of
                       Jencks Material and Early Identification of Government's Case−in−Chief Documents as to Mitzi
                       Bickers (1). Ruled on by Magistrate Judge Linda T. Walker on 9/17/19 within the 71 R&R. (jdb)
                       (Entered: 09/17/2019)
09/17/2019             ORDER CERTIFYING CASE READY FOR TRIAL as to Mitzi Bickers. (See 71 R&R.) Signed by
                       Magistrate Judge Linda T. Walker on 9/17/19. (jdb) (Entered: 09/17/2019)
09/17/2019    72       ORDER for Service of 71 Report and Recommendation, by Magistrate Judge Linda T. Walker, as to
                       Mitzi Bickers. Each party may file written objections to the Report & Recommendation within 14
                       days of service. If no objections are filed, the Report & Recommendation may be adopted as the
                       opinion and order of the District Court. Signed by Magistrate Judge Linda T. Walker on 9/17/19.
                       (jdb) (Entered: 09/17/2019)
09/18/2019    73       Notice for Leave of Absence for the following date(s): September 27, 2019, October 15, 2019
                       through October 18, 2019, November 14, 2019 through November 15, 2019, and November 27,
                       2019 through November 29, 2019, by Kurt R. Erskine. (Erskine, Kurt) (Entered: 09/18/2019)
10/01/2019    74       OBJECTIONS TO 71 REPORT AND RECOMMENDATION as to Mitzi Bickers filed by Mitzi
                       Bickers (Goldberg, Marissa) (Entered: 10/01/2019)
10/07/2019    75       RESPONSE as to Mitzi Bickers filed by USA re: 74 Objections to Report and Recommendation
                       (Sanders, Erin) (Entered: 10/07/2019)
10/09/2019             Submission of 71 REPORT AND RECOMMENDATION as to Mitzi Bickers re 54 MOTION to
                       Dismiss Counts Mitzi Bickers (1) Count 7s−10s , 53 MOTION for Bill of Particulars and to Strike
                       Surplusage MOTION to Strike as to Mitzi Bickers, to District Judge Steve C. Jones. (bdb) (Entered:
                       10/09/2019)
10/23/2019    76       Notice for Leave of Absence for the following date(s): November 18 to 19; December 16, 2019; and
                       January 8 to 10, 2020, by Jeffrey W. Davis. (Davis, Jeffrey) (Entered: 10/23/2019)
10/30/2019    77       ORDER: The Court ADOPTS the R&R in its entirety as the Order of this Court. Doc. No. 71 .
                       Defendant's Motion to Strike Surplusage and Motion to Dismiss Counts are DENIED. Doc. Nos. 53
                       ; 54 . Defendant's objections to the denial of her Motion for a Bill of Particulars and Motion for
                       Early Disclosure of Jencks Act Material and Early Identification of the Governments Case−in−


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                       Chief Documents are OVERRULED. Doc. Nos. 53 ; 56 . Signed by Judge Steve C. Jones on
                       10/30/2019. (rjs) (Entered: 10/30/2019)
10/30/2019    78       NOTICE SETTING TRIAL as to Mitzi Bickers, Jury Trial set for 1/13/2020 at 01:30 PM in ATLA
                       Courtroom 1907 before Judge Steve C. Jones. (Attachments: # 1 Criminal Trial Outline, # 2 General
                       Instructions)(pdw) (Entered: 10/30/2019)
11/04/2019    79       Request for Leave of Absence for the following date(s): 03/06/2020,03/09/2020, by Marissa Helene
                       Goldberg. (Goldberg, Marissa) (Entered: 11/04/2019)
11/06/2019    80       MOTION to Continue Trial by Mitzi Bickers. (Goldberg, Marissa) (Entered: 11/06/2019)
11/13/2019    81       ORDER granting 80 Motion for Continuance of Trial as to Mitzi Bickers (1). The JURY TRIAL in
                       this matter is CONTINUED to and SPECIALLY SET for MONDAY, APRIL 13TH, 2020 AT 1:30
                       P.M., in Courtroom 1907. If the Defendant should elect to enter a plea of guilty prior to trial, the
                       change of plea hearing must be scheduled no less than seven (7) days prior to trial. The period
                       between the date of the Court's Order and the continued trial date shall be excluded under the
                       District's Speedy Trial Plan and Speedy Trial Act. Signed by Judge Steve C. Jones on 11/13/2019.
                       (rjs) (Entered: 11/13/2019)
11/21/2019    82       Notice for Leave of Absence for the following date(s): December 16, 2019, December 17, 2019,
                       December 18, 2019, December 19, 2019, December 20, 2019, December 26, 2019, December 27,
                       2019, December 30, 2019, December 31, 2019, by Kelly Kathleen Connors. (Connors, Kelly)
                       (Entered: 11/21/2019)
01/03/2020    83       Request for Leave of Absence for the following date(s): 2/3/20, 2/12/20 − 2/21/20, 5/6/20 − 5/8/20,
                       5/28/20 − 5/29/20, 6/15/20 − 7/7/20, 8/12/20 − 8/14/20, by Drew Findling. (Findling, Drew)
                       (Entered: 01/03/2020)
01/03/2020    84       Request for Leave of Absence for the following date(s): 2/3/20, 2/12/20 − 2/21/20, 5/6/20 − 5/8/20,
                       5/28/20 − 5/29/20, 6/15/20 − 7/7/20, 8/12/20 − 8/14/20 by Drew Findling. (Findling, Drew)
                       (Entered: 01/03/2020)
01/28/2020    85       NOTICE OF ATTORNEY APPEARANCE Tiffany Rene Johnson appearing for USA. (Johnson,
                       Tiffany) (Entered: 01/28/2020)
02/24/2020    86       NOTICE OF ATTORNEY APPEARANCE: Zachary J. Kelehear appearing on behalf of Mitzi
                       Bickers (Kelehear, Zachary) (Entered: 02/24/2020)
02/25/2020             NOTICE OF HEARING as to Mitzi Bickers. Pretrial Conference set for 4/9/2020 at 10:00 AM in
                       ATLA Courtroom 1907 before Judge Steve C. Jones. (pdw) (Entered: 02/25/2020)
02/25/2020             NOTICE OF HEARING as to Mitzi Bickers. Preliminary Pretrial Conference set for 3/18/2020 at
                       02:30 PM in ATLA Courtroom 1907 before Judge Steve C. Jones. This hearing is in addition to the
                       final pretrial conference set for 4/9/2020. (pdw) (Entered: 02/25/2020)
03/04/2020    87       MOTION in Limine to Exclude Inadmissible Character Evidence by USA as to Mitzi Bickers.
                       (Erskine, Kurt) (Entered: 03/04/2020)
03/05/2020    88       MOTION in Limine To Exclude Evidence Related to Charging Decisions by USA as to Mitzi
                       Bickers. (Davis, Jeffrey) (Entered: 03/05/2020)
03/05/2020    89       MOTION in Limine To Exclude Discovery−Related Issues by USA as to Mitzi Bickers. (Davis,
                       Jeffrey) (Entered: 03/05/2020)
03/05/2020    90       MOTION in Limine To Admit Defendant's Proffer for Impeachment, Cross−Examination, and
                       Rebuttal by USA as to Mitzi Bickers. (Attachments: # 1 Exhibit 1 − Proffer Letter) (Johnson,


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                       Tiffany) (Entered: 03/05/2020)
03/05/2020    91       MOTION in Limine To Exclude Prior Invocations of Fifth Amendment By a Witness by USA as to
                       Mitzi Bickers. (Johnson, Tiffany) (Entered: 03/05/2020)
03/05/2020    92       MOTION To Admit Business Records Pursuant To Fed.R.Evid. 902(11) And 803(b) re 57
                       MOTION to Admit Business Records (Renewed) by USA as to Mitzi Bickers. (Attachments: # 1
                       Exhibit A) (Erskine, Kurt) (Entered: 03/05/2020)
03/05/2020    93       MOTION in Limine To Exclude Polygraph Evidence by USA as to Mitzi Bickers. (Erskine, Kurt)
                       (Entered: 03/05/2020)
03/06/2020    94       MOTION in Limine To Exclude Evidence of Alleged Misconduct and Civil Litigation by USA as
                       to Mitzi Bickers. (Johnson, Tiffany) (Entered: 03/06/2020)
03/06/2020    95       MOTION in Limine To Exclude Evidence of Remote Prior Misconduct by USA as to Mitzi
                       Bickers. (Johnson, Tiffany) (Entered: 03/06/2020)
03/10/2020             Documents 96−98 are sealed. (jpa) (Entered: 03/10/2020)
03/10/2020    99       Request for Leave of Absence for the following date(s): 5/25/2020 − 5/29/2020, 6/5/2020, by
                       Marissa Helene Goldberg. (Goldberg, Marissa) (Entered: 03/10/2020)
03/11/2020 100         MOTION in Limine To Exclude Evidence of Alleged Misconduct and Civil Litigation by USA as
                       to Mitzi Bickers. (Johnson, Tiffany) (Entered: 03/11/2020)
03/11/2020 101         ORDER as to Mitzi Bickers: Defendant is ORDERED to file responses to the Government's
                       Motions in Limine (Doc. Nos. 87 ; 88 ; 89 ; 90 ; 91 ; 93 ; 94 ; 95 ) and Renewed Motion to Admit
                       Business Records (Doc. No. 92 ) no later than 5:00 p.m. on Wednesday, March 25, 2020. Signed by
                       Judge Steve C. Jones on 3/10/2020. (rjs) (Entered: 03/11/2020)
03/12/2020 102         MOTION For Use of Jury Questionnaire by USA as to Mitzi Bickers. (Attachments: # 1 Exhibit A
                       − Proposed Jury Questionnaire) (Erskine, Kurt) (Entered: 03/12/2020)
03/17/2020             DOCKET ORDER as to Mitzi Bickers. The preliminary pretrial conference previously set for
                       3/18/2020 will proceed by teleconference. It is further ORDERED that the jury trial set for
                       4/13/2020 is CONTINUED to a date to be determined after consultation with counsel. Entered by
                       Judge Steve C. Jones on 3/17/2020. (pdw) (Entered: 03/17/2020)
03/17/2020             NOTICE OF CANCELLATION of Hearing as to Mitzi Bickers. The Final Pretrial Conference set
                       for 4/9/2020 at 10:00 AM in ATLA Courtroom 1907 before Judge Steve C. Jones is CANCELLED
                       pending a new trial date. Preliminary Pretrial Conference will proceed by teleconference on
                       3/18/20. (pdw) (Entered: 03/17/2020)
03/18/2020 104         Minute Entry for proceedings held before Judge Steve C. Jones: Preliminary Pretrial Conference
                       held via conference call. The Court ORDERED that the trial date will continued until June 22,
                       2020, with time from original trial date to continued trial date to be excluded from the Speedy Trial
                       calculation pursuant to 18 U.S.C. § 316l(h)(7)(A). All motions in limine must be filed by April
                       13th, with responses due April 27th. The Court granted USA's motion for jury questionnaires 102 ,
                       with defendant's counsel to file defendant's proposed questionnaire within one week. DFT#1− 102
                       Motion for Miscellaneous Relief GRANTED. (Court Reporter David Ritchie) (rjs) (Entered:
                       03/24/2020)
03/20/2020 103         General Order 20−01 re: COURT OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES
                       CREATED BY COVID−19 AND RELATED CORONA VIRUS as to Mitzi Bickers. Signed by
                       Judge Thomas W. Thrash, Jr. on 3/16/2020. (anc) (Entered: 03/23/2020)


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03/25/2020 105     RESPONSE in Opposition as to Mitzi Bickers filed by Mitzi Bickers re 100 MOTION in Limine To
                   Exclude Evidence of Alleged Misconduct and Civil Litigation , 90 MOTION in Limine To Admit
                   Defendant's Proffer for Impeachment, Cross−Examination, and Rebuttal , 87 MOTION in Limine to
                   Exclude Inadmissible Character Evidence , 89 MOTION in Limine To Exclude Discovery−Related
                   Issues , 95 MOTION in Limine To Exclude Evidence of Remote Prior Misconduct , 91 MOTION in
                   Limine To Exclude Prior Invocations of Fifth Amendment By a Witness , 93 MOTION in Limine
                   To Exclude Polygraph Evidence , 88 MOTION in Limine To Exclude Evidence Related to
                   Charging Decisions , 94 MOTION in Limine To Exclude Evidence of Alleged Misconduct and
                   Civil Litigation (Goldberg, Marissa) (Entered: 03/25/2020)
03/25/2020 106     OBJECTION to United States Proposed Juror Questionnaire filed by Mitzi Bickers (Kelehear,
                   Zachary) Modified on 3/26/2020 (rjs). (Entered: 03/25/2020)
03/25/2020 107     Proposed Jury Questionnaire filed by Mitzi Bickers (Kelehear, Zachary) Modified on 3/26/2020
                   (rjs). (Entered: 03/25/2020)
04/01/2020 108     Amended General Order 20−01 re COURT OPERATIONS UNDER THE EXIGENT
                   CIRCUMSTANCES CREATED BY COVID−19 AND RELATED CORONA VIRUS. Signed by
                   Judge Thomas W. Thrash, Jr. on 3/30/20. as to Mitzi Bickers (rvb) (ADI) (Entered: 04/01/2020)
04/06/2020 109     REPLY BRIEF as to Mitzi Bickers filed by USA re 87 MOTION in Limine to Exclude
                   Inadmissible Character Evidence (Johnson, Tiffany) (Entered: 04/06/2020)
04/06/2020 110     REPLY BRIEF as to Mitzi Bickers filed by USA re 95 MOTION in Limine To Exclude Evidence
                   of Remote Prior Misconduct (Johnson, Tiffany) (Entered: 04/06/2020)
04/06/2020 111     REPLY BRIEF as to Mitzi Bickers filed by USA re 93 MOTION in Limine To Exclude Polygraph
                   Evidence (Johnson, Tiffany) (Entered: 04/06/2020)
04/06/2020 112     REPLY BRIEF as to Mitzi Bickers filed by USA re 91 MOTION in Limine To Exclude Prior
                   Invocations of Fifth Amendment By a Witness (Johnson, Tiffany) (Entered: 04/06/2020)
04/06/2020 113     REPLY BRIEF as to Mitzi Bickers filed by USA re 89 MOTION in Limine To Exclude
                   Discovery−Related Issues (Johnson, Tiffany) (Entered: 04/06/2020)
04/06/2020 114     REPLY BRIEF as to Mitzi Bickers filed by USA re 88 MOTION in Limine To Exclude Evidence
                   Related to Charging Decisions (Johnson, Tiffany) (Entered: 04/06/2020)
04/06/2020 115     REPLY BRIEF as to Mitzi Bickers filed by USA re 90 MOTION in Limine To Admit Defendant's
                   Proffer for Impeachment, Cross−Examination, and Rebuttal (Johnson, Tiffany) (Entered:
                   04/06/2020)
04/06/2020 116     REPLY BRIEF as to Mitzi Bickers filed by USA re 94 MOTION in Limine To Exclude Evidence
                   of Alleged Misconduct and Civil Litigation (Johnson, Tiffany) (Entered: 04/06/2020)
04/06/2020 117     REPLY BRIEF as to Mitzi Bickers filed by USA re 100 MOTION in Limine To Exclude Evidence
                   of Alleged Misconduct and Civil Litigation (Johnson, Tiffany) (Entered: 04/06/2020)
04/13/2020 118     Notice for Leave of Absence for the following date(s): August 5 to 7, 2020; September 4 to 14,
                   2020; and October 2 to 13, 2020., by Jeffrey W. Davis. (Davis, Jeffrey) (Entered: 04/13/2020)
04/13/2020 119     REPLY as to Mitzi Bickers filed by USA re: 106 Objection, 107 Proposed Jury Questionnaire
                   (Attachments: # 1 Exhibit A)(Erskine, Kurt) Modified on 4/14/2020 (rjs). (Entered: 04/13/2020)
04/13/2020 120     MOTION for Reconsideration Request for Oral Argument and Leave to File Additional Motions re
                   104 Order by Mitzi Bickers. (Goldberg, Marissa) Modified on 4/14/2020 (rjs). (Entered:
                   04/13/2020)


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04/13/2020 121         MOTION in Limine to Exclude Inadmissible Evidence at Trial by Mitzi Bickers. (Goldberg,
                       Marissa) (Entered: 04/13/2020)
04/14/2020 122         ORDER as to Mitzi Bickers: The Court finds that juror questions #90 and #95 will be covered by
                       the Court during its own colloquy with the potential jurors. Questions #90 and #95 are therefore not
                       allowed. The remainder of Defendant's objections to the Government's juror questions are
                       OVERRULED (Doc. No. 106 ). As it appears Defendant has not yet had an opportunity to respond
                       to the proposed consolidated questionnaire, the Court ORDERS Defendant to file any objections
                       (save for the ones previously raised and overruled by the Court) to the proposed consolidated
                       questionnaire within seven (7) days of the entry of this Order. Signed by Judge Steve C. Jones on
                       4/14/2020. (rjs) (Entered: 04/15/2020)
04/16/2020 123         RESPONSE as to Mitzi Bickers filed by USA re: 120 MOTION for Reconsideration Request for
                       Oral Argument and Leave to File Additional Motions (Davis, Jeffrey) Modified on 4/17/2020 (rjs).
                       (Entered: 04/16/2020)
04/22/2020 124         OBJECTION and MOTION for Extension of Time filed by Mitzi Bickers (Goldberg, Marissa)
                       Modified on 4/23/2020 (rjs). (Entered: 04/22/2020)
04/27/2020             Submission of the 92 MOTION To Admit Business Records Pursuant To Fed.R.Evid. 902(11) And
                       803(b) re 57 MOTION to Admit Business Records (Renewed), 93 MOTION in Limine To Exclude
                       Polygraph Evidence , 87 MOTION in Limine to Exclude Inadmissible Character Evidence , 95
                       MOTION in Limine To Exclude Evidence of Remote Prior Misconduct , 100 MOTION in Limine
                       To Exclude Evidence of Alleged Misconduct and Civil Litigation , 88 MOTION in Limine To
                       Exclude Evidence Related to Charging Decisions , 89 MOTION in Limine To Exclude
                       Discovery−Related Issues , 94 MOTION in Limine To Exclude Evidence of Alleged Misconduct
                       and Civil Litigation , 91 MOTION in Limine To Exclude Prior Invocations of Fifth Amendment By
                       a Witness , 90 MOTION in Limine To Admit Defendant's Proffer for Impeachment,
                       Cross−Examination, and Rebuttal , 122 Order as to Mitzi Bickers, to District Judge Steve C. Jones.
                       (aaq) (Entered: 04/27/2020)
04/27/2020 125         RESPONSE in Opposition as to Mitzi Bickers filed by USA re 121 MOTION in Limine to Exclude
                       Inadmissible Evidence at Trial (Johnson, Tiffany) (Entered: 04/27/2020)
04/28/2020 126         ORDER: Defendant's 120 motion for reconsideration is GRANTED in part and DENIED in part.
                       The motion is denied with respect to Defendant's request for oral argument on the motions in
                       limine. The motion is granted to the extent that the Court will allow the parties to file additional
                       motions in limine up to fourteen (14) days before the start of trial. Additionally, Defendant's request
                       for additional time to review the completed juror questionnaires is GRANTED to the extent that the
                       parties will be allowed three full days to review the completed questionnaires. With respect to
                       Defendant's objections to the Government's proposed consolidated questionnaire, Defendant is
                       ORDERED to identify the additional questions she alleges the Government failed to incorporate in
                       their proposed consolidated questionnaire by 4:00 p.m. on Friday, May 1, 2020. Defendant is also
                       ORDERED to inform the Court whether she objects to the exclusion of her proposed question
                       regarding the jurors' race and ethnicity by 4:00 p.m. on Friday, May 1, 2020. The Government is
                       ORDERED to explain to the Court why it did not include Defendant's question on the jurors' race
                       and ethnicity in the proposed consolidated questionnaire by 4:00 p.m. on Friday, May 1, 2020.
                       Finally, the Government is ORDERED to respond or object to Defendant's proposed COVID−19
                       questions by 4:00 p.m. on Friday, May 1, 2020. Signed by Judge Steve C. Jones on 4/28/2020. (rjs)
                       (Entered: 04/28/2020)
05/01/2020 127         RESPONSE and Supplemental Objections as to Mitzi Bickers filed by Mitzi Bickers re: 126 Order
                       (Goldberg, Marissa) Modified on 5/4/2020 (rjs). (Entered: 05/01/2020)
05/01/2020 128

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                   RESPONSE as to Mitzi Bickers filed by USA re: 126 Order (Johnson, Tiffany) Modified on
                   5/4/2020 (rjs). (Entered: 05/01/2020)
05/04/2020 129     DOCUMENT FILED IN ERROR − CORRECTED AT 130 REPLY TO RESPONSE to Motion as
                   to Mitzi Bickers filed by Mitzi Bickers re: 121 MOTION in Limine to Exclude Inadmissible
                   Evidence at Trial (Kelehear, Zachary) Modified on 5/5/2020 (jpa). (Entered: 05/04/2020)
05/04/2020 130     REPLY as to Mitzi Bickers filed by Mitzi Bickers re: 128 Response (Kelehear, Zachary) Modified
                   on 5/5/2020 (rjs). (Entered: 05/04/2020)
05/04/2020 131     Minute Entry for proceedings held before Judge Steve C. Jones: Status videoconference held
                   regarding June 22nd trial date. In light of current circumstances related to the Coronavirus
                   pandemic, trial will be continued to August 28, 2020. All parties agreed to continuance and
                   exclusion of time from speedy trial calculation. Order to follow. (Court Reporter David Ritchie)
                   (rjs) (Entered: 05/05/2020)
05/05/2020 132     ORDER: It is ORDERED that the JURY TRIAL in this matter is CONTINUED to MONDAY,
                   SEPTEMBER 1ST, 2020 in Courtroom 1907. The period between the previous trial date (June 22,
                   2020) and the continued trial date (September 1, 2020) shall be excluded under the District's Speedy
                   Trial Plan and Speedy Trial Act. Signed by Judge Steve C. Jones on 5/5/2020. (rjs) (Entered:
                   05/05/2020)
05/05/2020 133     REPLY TO RESPONSE to Motion as to Mitzi Bickers filed by Mitzi Bickers re: 121 MOTION in
                   Limine to Exclude Inadmissible Evidence at Trial (Kelehear, Zachary) (Entered: 05/05/2020)
05/15/2020 134     GENERAL ORDER 20−01 SECOND AMENDMENT IN RE: COURT OPERATIONS UNDER
                   THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONAVIRUS as to Mitzi Bickers. Signed by Judge Thomas W. Thrash, Jr. on 4/30/2020. (dgr)
                   (Entered: 05/15/2020)
05/18/2020 135     ORDER granting 93 Motion in Limine as to Mitzi Bickers (1). Signed by Judge Steve C. Jones on
                   5/18/2020. (rjs) (Entered: 05/18/2020)
05/18/2020 136     ORDER: The Government's 88 Motion to Exclude Evidence Relating to Charging Decisions is
                   GRANTED. Signed by Judge Steve C. Jones on 5/18/2020. (rjs) (Entered: 05/18/2020)
05/21/2020 137     ORDER granting 91 Government's Motion to Exclude Prior Invocations ofthe Fifth Amendment by
                   a Witness. Defendant is therefore precluded from introducing any evidence of Mitchell's prior
                   invocations of the Fifth Amendment during his November 9, 2017 civil deposition at any point
                   during trial. Signed by Judge Steve C. Jones on 5/21/2020. (rjs) (Entered: 05/21/2020)
05/21/2020 138     ORDER granting 89 Government's Motion to Exclude Discovery−Related Issues. The Court
                   therefore requires that all comments relating to discovery issues be made outside the presence of the
                   jury. Signed by Judge Steve C. Jones on 5/21/2020. (rjs) (Entered: 05/21/2020)
05/27/2020 139     THIRD AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER
                   THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED CORONA
                   VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 5/26/2020. (rjs) (Entered: 05/27/2020)
05/28/2020 140     ORDER granting 87 Motion in Limine. Defendant is precluded from offering any evidence of her
                   "specific instances of good conduct" or "lack of prior bad acts" to demonstrate good character, and
                   from offering any evidence of good character that is not tied to a particular "pertinent trait." Signed
                   by Judge Steve C. Jones on 5/28/2020. (rjs) (Entered: 05/28/2020)
06/03/2020 141     ORDER: Government's 90 Motion to Admit Defendant's Proffer for Impeachment,
                   Cross−Examination, and Rebuttal is GRANTED. Signed by Judge Steve C. Jones on 6/3/2020. (rjs)


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                       (Entered: 06/03/2020)
06/09/2020             Submission of the 121 MOTION in Limine to Exclude Inadmissible Evidence at Trial as to Mitzi
                       Bickers to District Judge Steve C. Jones. (aaq) (Entered: 06/09/2020)
06/19/2020             DOCKET ORDER: The Court's trial setting order at Doc. No. 132 is AMENDED to correct the
                       start day and provide a start time as follows: it is ORDERED that the JURY TRIAL in this matter is
                       CONTINUED to TUESDAY, SEPTEMBER 1ST, 2020 at 9:30 A.M. in Courtroom 1907. Except as
                       amended herein, the remainder of the Court's order at Doc. No. 132 remains in full force and effect.
                       Ordered by Judge Steve C. Jones on 6/19/2020 and entered as directed by Chambers. (rjs) (Entered:
                       06/19/2020)
06/22/2020 142         ORDER: The Government's 94 Motion to Exclude Evidence of Alleged Misconduct and Civil
                       Litigation is GRANTED. In the event Coleman is called to testify, Defendant is precluded from
                       introducing any evidence of alleged misconduct leading to Coleman's termination and any evidence
                       relating to her civil lawsuit filed against the City of Jackson and its employees. Signed by Judge
                       Steve C. Jones on 6/22/2020. (rjs) (Entered: 06/22/2020)
06/24/2020 143         Minute Entry for proceedings held before Judge Steve C. Jones: Status Conference as to Mitzi
                       Bickers held regarding pending September 1st trial date. In light of ongoing concerns surrounding
                       the COVID−19 pandemic, the parties requested that the trial date be continued. The Court granted
                       the parties request, but directed counsel to file a motion for continuance on record. The Court
                       advised counsel that a new trial date will not be set at this time, but the parties will be consulted and
                       provided with adequate preparation time prior to trial. Parties agreed that time elapsed will be
                       excluded from the speedy trial calculation. (Court Reporter David Ritchie) (bnp) (Entered:
                       06/25/2020)
06/29/2020 144         Joint MOTION to Continue the Trial by Mitzi Bickers. (Goldberg, Marissa) (Entered: 06/29/2020)
07/01/2020 145         Notice for Leave of Absence for the following date(s): August 7 to 10, 2020, by Jeffrey W. Davis.
                       (Davis, Jeffrey) (Entered: 07/01/2020)
07/01/2020 146         FOURTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER
                       THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED CORONA
                       VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 7/1/2020. (rjs) (Entered: 07/01/2020)
07/13/2020 147         FIFTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER
                       THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED CORONA
                       VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 7/10/2020. (rjs) (Entered: 07/13/2020)
07/23/2020             Submission of 144 Joint MOTION to Continue the Trial to District Judge Steve C. Jones. (rjs)
                       (Entered: 07/23/2020)
08/04/2020 148         SIXTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER
                       THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                       CORONAVIRUS. Signed by Judge Thomas W. Thrash, Jr. on 8/3/2020. (rjs) (Entered: 08/04/2020)
08/27/2020 149         ORDER granting 144 Motion for Continuance as to Mitzi Bickers (1). The jury trial in this matter is
                       CONTINUED to a date to be determined. The period between the date of this and the continued
                       trial date (when established) shall be excluded under the District's Speedy Trial Plan and Speedy
                       Trial Act. Signed by Judge Steve C. Jones on 8/27/2020. (rjs) (Entered: 08/27/2020)
09/02/2020 150         SEVENTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER
                       THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                       CORONAVIRUS. Signed by Judge Thomas W. Thrash, Jr. on 9/1/2020. (rjs) (Entered: 09/02/2020)



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12/09/2020 151     NINTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER
                   THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONAVIRUS. The time period of the continuances implemented by this General Order will be
                   excluded under the Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 12/8/2020. (rjs)
                   (Entered: 12/09/2020)
01/27/2021 152     TENTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER
                   THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONAVIRUS. The time period of the continuances implemented by this General Order will be
                   excluded under the Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 1/27/2021. (rjs)
                   (Entered: 01/27/2021)
03/10/2021 153     ELEVENTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT OPERATIONS
                   UNDER THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONAVIRUS. The time period of the continuances implemented by this General Order will be
                   excluded under the Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 3/9/2021. (rjs)
                   (Entered: 03/10/2021)
03/23/2021 154     Notice for Leave of Absence for the following date(s): May 27, 2021 through June 2, 2021, by
                   Kelly Kathleen Connors. (Connors, Kelly) (Entered: 03/23/2021)
04/02/2021 155     NOTICE OF ATTORNEY APPEARANCE Nathan Parker Kitchens appearing for USA. (Kitchens,
                   Nathan) (Entered: 04/02/2021)
04/08/2021 156     Minute Entry for proceedings held before Judge Steve C. Jones: Status Conference as to Mitzi
                   Bickers. Status conference held via Zoom. The parties agree to January 18, 2022 trial date, with
                   intervening time to be excluded from the Speedy Trial calculation. (Court Reporter David Ritchie)
                   (rjc) (Entered: 04/08/2021)
04/19/2021 157     ORDER: The Court ORDERS that the JURY TRIAL in this matter is CONTINUED to TUESDAY,
                   JANUARY 18, 2022 in Courtroom 1907. The period between the previous trial date (September 1,
                   2020) and the continued trial date (January 18, 2022) shall be excluded under the District's Speedy
                   Trial Plan and Speedy Trial Act (18 U.S.C. § 3161(h)(7)(A)). Signed by Judge Steve C. Jones on
                   4/19/2021. (rjc) (Entered: 04/19/2021)
05/13/2021 158     Request for Leave of Absence for the following date(s): 06/07−11/2021, by Marissa Helene
                   Goldberg. (Goldberg, Marissa) (Entered: 05/13/2021)
06/11/2021 159     Notice for Leave of Absence for the following date(s): July 23, 2021 through July 30, 2021 and
                   September 27, 2021 through October 4, 2021, by Kelly Kathleen Connors. (Connors, Kelly)
                   (Entered: 06/11/2021)
06/15/2021 160     Request for Leave of Absence for the following date(s):
                   07/23/2021,08/16−20/2021,08/23−24/2021,09/02−03/2021,09/06−08/2021,12/20−24/2021,
                   12/27−31/2021, by Drew Findling. (Findling, Drew) (Entered: 06/15/2021)
07/03/2021 161     Notice for Leave of Absence for the following date(s): October 1, 2021, October 21, 2021, and
                   October 22, 2021, by Nathan Parker Kitchens. (Kitchens, Nathan) (Entered: 07/03/2021)
07/15/2021 162     ORDER as to Mitzi Bickers (1) granting the United States' Unopposed Motions to Admit Business
                   Records [57,92]. The Court will permit Defendant to object at trial on evidentiary bases that are not
                   subject to the motions [57,92]. Signed by Judge Steve C. Jones on 7/15/2021. (ddm) (Entered:
                   07/15/2021)
07/19/2021 163     ORDER Directing USA to Respond to 55 MOTION for Full Disclosure of Proffer Information
                   Pursuant to Giglio and Brady on or before AUGUST 2, 2021. Signed by Judge Steve C. Jones on


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                       07/19/2021. (rsg) (Entered: 07/19/2021)
07/20/2021 164         Request for Leave of Absence for the following date(s): 09/13/2021−12/13/2021, by Marissa
                       Helene Goldberg. (Goldberg, Marissa) (Entered: 07/20/2021)
07/26/2021 165         ORDER as to Mitzi Bickers (1) granting the Government's 100 Motion to Exclude Evidence of
                       Alleged Misconduct and Civil Litigation. If Kimberly Bracey is called to testify, the Court excludes
                       any evidence of or relating to: (1) alleged misconduct leading to the termination of her employment
                       with the City of Jackson, Mississippi; and (2) her civil lawsuit filed against the City of Jackson,
                       Mississippi. Signed by Judge Steve C. Jones on 7/26/2021. (ddm) (Entered: 07/27/2021)
07/30/2021 166         ORDER: This matter is before the Court regarding the Parties' proposed juror questionnaires (Doc.
                       Nos. [ 102 −1]; 107 ). The Court has reviewed the proposed juror questionnaires and created the
                       juror questionnaire attached hereto as Exhibit A. The Court plans on using this questionnaire for
                       trial. In the interests of facilitating the progress of this case and ensuring that the jurors are asked
                       relevant questions, the Court issues this juror questionnaire at this time but will consider additional
                       proposed questions within thirty (30) days before trial. Finally, the Court provides the following
                       logistical notes regarding how the juror questionnaires will be administered: The prospective jurors
                       will arrive on Friday, January 14, 2022 to fill out the questionnaires. Once the prospective jurors
                       have completed the questionnaires, the Court will make and distribute copies to the attorneys for
                       their review prior to jury selection, which will start on Tuesday, January 18, 2022. Signed by Judge
                       Steve C. Jones on 07/30/2021. (rsg) (Entered: 07/30/2021)
08/02/2021 167         RESPONSE as to Mitzi Bickers filed by USA re: 55 MOTION for Production of Brady Materials
                       (Dillingham, Tiffany) (Entered: 08/02/2021)
08/11/2021 168         Request for Leave of Absence for the following date(s):
                       09/28−29/2021,12/20−24/2021,12/27−31/2021,06/06−10/2022,06/13−17/2022,06/20−24/2022,
                       06/27−30/2022,07/01/2022,07/05−08/2022, by Drew Findling. (Findling, Drew) (Entered:
                       08/11/2021)
11/10/2021             Document 169 is sealed. (bgt) (Entered: 11/12/2021)
11/17/2021             Document 170 is sealed. (jpa) (Entered: 11/17/2021)
11/22/2021 171         ORDER as to Mitzi Bickers (1) denying 55 Defendant's Motion for Full Disclosure of Proffer
                       Information Pursuant to Giglio and Brady. Signed by Judge Steve C. Jones on 11/19/2021. (ddm)
                       (Entered: 11/22/2021)
12/16/2021 172         ORDER denying 95 Motion to Exclude Evidence of Remote Prior Misconduct (Doc. No. 95 ) as
                       premature. This Order does not preclude the Government from challenging examination at trial as to
                       the prior conduct that is the subject of this Motion. Because the Government may later challenge
                       such examination at trial, the Court further ORDERS that Defendant shall not discuss the prior
                       conduct that is the subject of this Motion during opening statements or during the trial prior to the
                       Courts approval. Nor shall Defendant attempt to elicit testimony regarding the prior conduct that is
                       the subject of this Motion prior to the Courts approval. Signed by Judge Steve C. Jones on
                       12/16/2021. (rsg) (Entered: 12/16/2021)
12/17/2021             NOTICE OF HEARING as to Mitzi Bickers. Pretrial Conference set for 1/12/2022 at 10:00 AM in
                       ATLA Courtroom 1907 before Judge Steve C. Jones. (pdw) (Entered: 12/17/2021)
12/27/2021 173         ORDER re 121 Motion in Limine as to Mitzi Bickers (1), the Court DENIES Defendant's motion in
                       limine asking the Court to exclude evidence concerning Pirouette and dancers who allegedly
                       performed at fundraising events. The Court DENIES Defendants request for the Court to exclude
                       evidence relating to Defendant's wealth, expenditures, and spending habits. The Court DENIES
                       Defendant's request to exclude testimony from her former romantic partners. The Court DENIES

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                       Defendant's request insofar as it seeks to exclude all potentially negative references to the
                       Emmanuel Baptist Church. The Court DENIES Defendant's request to exclude evidence relating to
                       her relationship with Reed. the Court GRANTS in part and DENIES in part Defendant's request
                       regarding evidence of prior litigation. The Government shall not offer evidence concerning prior
                       civil litigation involving Defendant unless that civil litigation relates to the charges in this criminal
                       action. However, if an otherwise unrelated prior civil litigation becomes relevant for impeachment
                       or other admissible rebuttal purposes, the Court may consider allowing the Government to offer
                       evidence as to those cases. Additionally, the Government may offer evidence of prior civil litigation
                       that has a reasonable nexus to the charges in this criminal action. The Court DENIES Defendant's
                       request to preclude Tate from testifying at trial. the Court DENIES Defendant's request to exclude
                       evidence of the City of Atlanta Code of Ethics and Procurement Code and Defendants compliance
                       with those codes. the Court DENIES Defendant's request to exclude evidence concerning
                       fundraising and similar events that were not directly discussed in the indictment. the Court DENIES
                       Defendant's request to exclude evidence about City of Jackson bidding procedures and processes in
                       which Defendant was not directly involved. At this time, the Court does not have enough evidence
                       to determine with finality whether allegations as to the satisfaction of Yarber's home mortgage are
                       speculative or irrelevant to this criminal action. In any event, the Government stated clearly that it
                       does not intend to introduce evidence relating to Yarber's home mortgage. Accordingly, at this time,
                       Defendant's request to exclude this evidence is DENIED as moot. the Court DENIES Defendant's
                       request to exclude evidence as to her campaign contributions. Defendant contends without argument
                       that the Court should exclude remarks that are generally disparaging to Defendant's character and
                       claims of other alleged impropriety not properly noticed by the Government, at this point, the Court
                       DENIES Defendant's requests. Because this Order disposes of the omnibus motion Doc. 121 the
                       Court DIRECTS the Clerk to terminate the pendency of that motion. Signed by Judge Steve C.
                       Jones on 12/27/2021. (adg) (Entered: 12/27/2021)
01/03/2022 176         Minute Entry for proceedings held before Judge Steve C. Jones: Status Conference with counsel as
                       to Mitzi Bickers via Zoom. Due to concerns regarding the Covid−19 Omicron variant, all parties
                       agree to continuance of trial. Trial to commence March 9, 2022. (Court Reporter Viola Zbrowski)
                       (pdw) (Entered: 01/26/2022)
01/04/2022 174         ORDER as to Mitzi Bickers CONTINUING the Jury Trial to Wednesday, March 9, 2022 at 09:30
                       AM in ATLA Courtroom 1907. The Pretrial Conference is set for Thursday, March 3, 2022 at 10:00
                       AM in ATLA Courtroom 1907. The pretrial conference currently scheduled for January 12, 2022 is
                       hereby cancelled. Signed by Judge Steve C. Jones on 12/04/2022. (ddm) (Entered: 01/04/2022)
01/04/2022             NOTICE OF HEARING as to Mitzi Bickers. Pretrial Conference reset for 3/3/2022 at 02:30 PM in
                       ATLA Courtroom 1907 before Judge Steve C. Jones. (pdw) (Entered: 01/04/2022)
01/07/2022 175         ORDER denying as moot 124 Motion for Extension of Time to review the Government's proposed
                       juror questionnaire as to Mitzi Bickers (1). Signed by Judge Steve C. Jones on 1/7/2022. (pdw)
                       (Entered: 01/07/2022)
02/14/2022 177         Notice for Leave of Absence for the following date(s): (a) April 15 to 18, 2022, (b) April 26 to May
                       2, 2022; and (c) May 13 to 17, 2022, by Jeffrey W. Davis. (Davis, Jeffrey) (Entered: 02/14/2022)
02/23/2022 178         NOTICE of Intention to Use 404(b) Evidence filed by USA as to Mitzi Bickers (Kitchens, Nathan)
                       (Entered: 02/23/2022)
02/23/2022 179         OBJECTION to 178 Notice of Intention to Use 404(b) Evidence as to Mitzi Bickers filed by Mitzi
                       Bickers (Goldberg, Marissa) (Entered: 02/23/2022)
02/24/2022 180         Notice for Leave of Absence for the following date(s): April 1, 2022 through April 11, 2022; May
                       25, 2022 through May 31, 2022 and July 15, 2022 through July 29, 2022, by Kelly Kathleen
                       Connors. (Connors, Kelly) (Entered: 02/24/2022)

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03/01/2022 181     RESPONSE as to Mitzi Bickers filed by USA re: 179 Objection (Dillingham, Tiffany) (Entered:
                   03/01/2022)
03/03/2022 182     ORDER as to Mitzi Bickers OVERRULING Defendant's Objection to the Government's Rule
                   404(b) Notice. Doc. No. 179 . Signed by Judge Steve C. Jones on 03/03/2022. (ddm) (Entered:
                   03/03/2022)
03/03/2022 187     Minute Entry for proceedings held before Judge Steve C. Jones: Pretrial Conference as to Mitzi
                   Bickers. Jury trial to begin 3/09/2022. (Court Reporter Viola Zbrowski) (pdw) (Entered:
                   03/10/2022)
03/04/2022 183     MOTION for Leave to File Out of Time and Defendants Motion in Limine to Preclude the
                   Government from Calling Witnesses Who Will Invoke the Fifth Amendment Right Against
                   Self−Incrimination by Mitzi Bickers. (Kelehear, Zachary) Modified on 3/4/2022 to edit docket entry
                   (ddm). (Entered: 03/04/2022)
03/05/2022 184     RESPONSE in Opposition as to Mitzi Bickers filed by USA re 183 MOTION in Limine
                   (Dillingham, Tiffany) (Entered: 03/05/2022)
03/07/2022 185     ORDER as to Mitzi Bickers (1) denying as moot 183 Defendant's Out of Time Motion in Limine.
                   Signed by Judge Steve C. Jones on 03/07/2022. (ddm) (Entered: 03/07/2022)
03/07/2022 186     Proposed Jury Instructions as to Mitzi Bickers filed by USA (Dillingham, Tiffany) (Entered:
                   03/07/2022)
03/09/2022 188     Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                   on 3/9/2022. Voir dire conducted; jury selected and sworn. Hearing not concluded. Court adjourned
                   and will reconvene at 9:00 AM on 3/10/2022. Jurors excused until the above time under the usual
                   caution of the Court. (Court Reporter Viola Zborowski) (ddm) (Entered: 03/10/2022)
03/10/2022 195     Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                   on 3/10/2022. Opening arguments heard. Government's case began. Agent John Relyea sworn and
                   testified. Government's exhibits 193−196, 6, 12, 17, 19, 1, 5, 8, 9, 14, 24, 13a, 13b, 16, 20, 28−42,
                   197, 44−47 admitted. Danielle Nichols sworn and testified. Government's exhibit 48 admitted. Nina
                   Hickson sworn and testified. Government's exhibits 49−51 admitted. Kimberly Spell−Fowler sworn
                   and testified. Government's exhibits 53−65 admitted. Jimmy Kirby sworn and testified. Deborah
                   Lonon sworn and testified. Government's exhibit 73 admitted. Charles P. Richards, Jr. sworn and
                   testified. Government's exhibits 66 and 26L−1 admitted. Hearing not concluded. Court adjourned
                   and will reconvene at 9:00 AM on 3/11/2022. (Court Reporter Viola Zborowski) (ddm) (Entered:
                   03/16/2022)
03/11/2022 196     Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                   on 3/11/2022. Government's case continued. Testimony of Charles P. Richards, Jr. continued and
                   concluded. Government's exhibits 199, 71, 69, 42E, 67, 68, 42H, 72, 42J, 42I, 22B−1, 22B−2,
                   26L−5, 205 admitted. Michael Ayo sworn and testified. Government's exhibits 42 and 42F
                   admitted. Deidre Verdier sworn and testified. Government's exhibits 74−77, 27C−1 admitted. Jon
                   Keen sworn and testified. Albert Bantley sworn and testified. Sabrina Black sworn and testified.
                   Government's exhibit 79 admitted. Jury dismissed at 4:15 PM. Court heard argument from counsel
                   regarding the anticipated testimony of E.R. Mitchell. Hearing not concluded. Court adjourned and
                   will reconvene at 9:30 AM on 3/14/2022. (Court Reporter Viola Zborowski) (ddm) (Entered:
                   03/16/2022)
03/13/2022 190     ORDER Directing Defendant to Respond to 189 MOTION for Leave to File Surreply filed by USA
                   on or before 7:00 PM MARCH 13, 2022. Signed by Judge Steve C. Jones on 3/13/2022. (sif)
                   (Entered: 03/13/2022)


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03/13/2022             Clerk's Certificate of Mailing as to Mitzi Bickers re 191 Order on Motion for Leave to
                       File−SEALED: counsel served with copies by CRD via email. (pdw) (Entered: 03/14/2022)
03/14/2022             Documents 189 and 191 are sealed. (ddm) (Entered: 03/14/2022)
03/14/2022 197         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/14/2022. Government's case continued. Sharon Patterson sworn and testified. Government's
                       exhibits 26UU−1, 26UU−2, 26QQ−1, 26UU−3, 26UU−4, 26UU−5, 26UU−6, 78 admitted.
                       Shedreka Poole sworn and testified. Government's exhibits 15R, 26H−1, 26I−1, 26K−1 admitted.
                       Adrienne Richardson sworn and testified. Government's exhibits 203, 204, 200, 201 admitted. Rita
                       Braswell sworn and testified. Government's exhibits 43, 86−90, 93−107, 212 admitted. Gail
                       Hanscom sworn and testified. Government's exhibits 43B, 114−117 admitted. Hearing not
                       concluded. Court adjourned and will reconvene at 9:30 AM on 3/15/2022. Jurors excused until the
                       above time under the usual caution of the Court. (Court Reporter Viola Zborowski) (ddm) (Entered:
                       03/16/2022)
03/15/2022 193         ORDER as to Mitzi Bickers granting in part and denying in part the Government's Motion to
                       Exclude Evidence of Elvin R. Mitchell, Jr.'s Remote Previous Misconduct 95 . The Court reserves
                       judgment on the admissibility of a non−prosecution agreement and debarment. The Court will
                       question Mr. Mitchell about these topics outside the presence of the jury and, at that time, will rule
                       on their admissibility. Signed by Judge Steve C. Jones on 03/14/2022. (ddm) (Entered: 03/15/2022)
03/15/2022             Document 192 is sealed. (ddm) (Entered: 03/15/2022)
03/15/2022             ORAL MOTION for Declaration of Mistrial by Mitzi Bickers. (ddm) (Entered: 03/15/2022)
03/15/2022 194         ORDER as to Mitzi Bickers (1) denying Defendant's Oral Motion for Declaration of Mistrial.
                       Signed by Judge Steve C. Jones on 03/15/2022. (ddm) (Entered: 03/15/2022)
03/15/2022 198         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/15/2022. Government's case continued. [Outside the presence of the jury, defense counsel
                       made a motion for mistrial. The motion was denied by the Court in its Order at 194 .] Mark Stafford
                       sworn and testified. Government's exhibit 113 and Defendant's exhibits 1 and 2 admitted. William
                       Marshall sworn and testified. Thomas Weyandt sworn and testified. Government's exhibits 111 and
                       91 admitted. Richard Leary sworn and testified. Government's exhibits 80, 4G−1, 11C−1, 11C−2
                       admitted. Richard Mendoza sworn and testified. Government's exhibits 128, 131−135 admitted.
                       Michael Winfrey sworn and testified. Government's exhibits 164, 165, 163 admitted. Lisa Reed
                       sworn and testified. Government's exhibit 190 admitted. Ricky Williams sworn and testified.
                       Government's exhibits 166, 168, 169 admitted. Hearing not concluded. Court adjourned and will
                       reconvene at 9:30 AM on 3/16/2022. Jurors excused until the above time under the usual caution of
                       the Court. (Court Reporter Viola Zborowski) (ddm) (Entered: 03/16/2022)
03/16/2022 204         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/16/2022. Government's case continued. Tammy Willingham sworn and testified. Government's
                       exhibit 191 admitted. Matthew Davis sworn and testified. Government's exhibits 26EE−1, 26E−1,
                       26EE−2, 26NN−2, 26E−2 − 26E−5, 26NN−3. Elvin "E.R." Mitchell sworn and testified.
                       Government's exhibits 139, 26L−6, 15G−1, 15G−2, 159, 160, 26L−7, 15C−2, 15i−3, 26L−8,
                       15C−3, 15E−4, 26L−9, 15B−2, 15G−3, 15G−4, 127, 83, 84, 26E−6, 143−149, 151−153, 26E−7,
                       26Q−3, 26Q−4, 15i−1, 15i−2 admitted. Jury dismissed for the day. The Court inquired of counsel
                       for Cotena Alexander in open court after jury was dismissed. The Court advised all counsel it will
                       not enforce defendant's subpoena for Ms. Alexander. (Court Reporter Viola Zborowski) (ddm)
                       (Entered: 03/22/2022)
03/17/2022             Document 199 is sealed. (ddm) (Entered: 03/17/2022)



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03/17/2022 205         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/17/2022. Government's case continued. Testimony of E.R. Mitchell continued and concluded.
                       Government's exhibits 214−216, 26E−8, 26E−9, 154, 26Q−5 − 26Q−8, 26NN−4, 155, 156, 158
                       admitted. Hearing not concluded. Court adjourned and will reconvene at 9:30 AM on 3/18/2022.
                       Jurors excused until the above time under the usual caution of the Court. (Court Reporter Viola
                       Zborowski) (ddm) (Entered: 03/22/2022)
03/17/2022 206         −−−Duplicate Entry−−−Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial
                       as to Mitzi Bickers held on 3/17/2022. Government's case continued. Testimony of E.R. Mitchell
                       continued and concluded. Government's exhibits 214−216, 26E−8, 26E−9, 154, 26Q−5 − 26Q−8,
                       26NN−4, 155, 156, 158 admitted. Hearing not concluded. Court adjourned and will reconvene at
                       9:30 AM on 3/18/2022. Jurors excused until the above time under the usual caution of the Court.
                       (Court Reporter Viola Zborowski) (rsg) Modified on 3/22/2022 to change date held (rsg). Modified
                       on 3/23/2022 (rsg). (Entered: 03/22/2022)
03/18/2022             ORAL Motion for a Curative Instruction by Mitzi Bickers. (ddm) (Entered: 03/21/2022)
03/18/2022 207         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/18/2022. [Outside the presence of the jury the Court heard argument from defendant's counsel
                       regarding testimony of ER Mitchell; counsel requested curative instruction. Request was denied in
                       the Court's order at doc. 200 . Government's exhibit 91 admitted.] Melvin Priester sworn and
                       testified. Court's Exhibit 1 (parties' joint stipulation) admitted. government's exhibits 213 and 45−A
                       admitted. Tony Yarber sworn and testified. Government's exhibits 178, 179, 184, 180, 182, 183, 209
                       admitted. Janine Patterson sworn and testified. Kimberly Bracey sworn and testified. Government's
                       exhibits 185, 181, and 186 admitted. Stephanie Coleman sworn and testified. Government's exhibits
                       187, 188, 189 admitted. Jacquelyn Anderson Woods sworn and testified. Chana Tate sworn and
                       testified. Hearing not concluded. Court adjourned and will reconvene at 9:00 AM on 3/21/2022.
                       Exhibits retained to be forwarded to the Clerks Office. (Court Reporter Viola Zborowski) (rsg)
                       (Entered: 03/22/2022)
03/21/2022 200         ORDER as to Mitzi Bickers (1) denying Defendant's Oral Motion for a Curative Instruction. Signed
                       by Judge Steve C. Jones on 03/20/2022. (ddm) (Entered: 03/21/2022)
03/21/2022 201         Supplemental Requests to Charge as to Mitzi Bickers (Kelehear, Zachary) Modified on 3/21/2022 to
                       edit docket text (ddm). (Entered: 03/21/2022)
03/21/2022             ORAL MOTION for Judgment of Acquittal by Mitzi Bickers. (rsg) (Entered: 03/22/2022)
03/21/2022 208         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/21/2022. Government's case continued. Jaclyn Velardo sworn and testified. Government's
                       exhibits 210, 170a, 170b, 174, 175, 211 admitted. John Relyea recalled to stand. Government's
                       exhibits 176, 177, 217a−217f, 218a−218i admitted. Adrienne Richardson recalled to stand.
                       Government's exhibits 21, 206, 219, 202, 7E−1, 4G−2, 7F−1 admitted. [Outside the presence of the
                       jury: Government advised the Court it would reset. Defendant's counsel made an oral motion for
                       Rule 29 judgment of acquittal. The motion was DENIED by the Court.] Jury returned. Government
                       rested. Defendant announced she would present no evidence. Jury released for the day.
                       Government's exhibits 2B, 3, 4A−4C, 4G−4H, 7B−7F, 10A−10C, 11A−11D, 15A−15R, 22A, 22B,
                       25A, 25B, 26A−26UU, 27A−27M. Charge conference held. Hearing Concluded. (Court Reporter
                       Viola Zborowski) (rsg) (Entered: 03/22/2022)
03/22/2022 202         Proposed Jury Instructions and Proposed Special Verdict Form for Forfeiture Phase as to Mitzi
                       Bickers filed by USA (Connors, Kelly) Modified on 3/22/2022 to edit docket entry (ddm). (Entered:
                       03/22/2022)
03/22/2022 203


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                       ORDER as to Mitzi Bickers advising the parties that the Court will not instruct the jury on the
                       Defendant's Supplemental Jury Instruction or the llth Circuit Criminal Pattern Instruction Tl.l.
                       Signed by Judge Steve C. Jones on 03/22/2022. (ddm) (Entered: 03/22/2022)
03/22/2022 209         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/22/2022. Closing arguments heard. Jury charged by the Court. Alternate jurors released to jury
                       clerk. Deliberations began. Hearing not concluded. Court adjourned and will reconvene at 9:30 AM
                       on 3/23/2022. (Court Reporter Viola Zborowski) (ddm) (Entered: 03/23/2022)
03/22/2022 210         Court's Jury Instructions as to Mitzi Bickers. (ddm) (Entered: 03/23/2022)
03/22/2022 216         Jury Note as to Mitzi Bickers dated 3/24/2022. (pdw) (Entered: 03/24/2022)
03/23/2022 211         PROPOSED CONSENT ORDER Preliminary Order of Forfeiture as to Mitzi Bickers (Connors,
                       Kelly) (Entered: 03/23/2022)
03/23/2022 212         Minute Entry for proceedings held before Judge Steve C. Jones: Jury Trial as to Mitzi Bickers held
                       on 3/23/2022. Jury continued deliberations and returned a verdict of GUILTY on 9 of 12 COUNTS.
                       Guilty as to Counts 1, 4−10, and 12; NOT GUILTY as to Counts 2, 3, and 11. Parties to confer
                       regarding forfeiture provision and advise the Court if an agreement can be reached or if the Court
                       will hear evidence at 10:00 AM on 3/24/2022. [Counsel later contacted the Court to advise an
                       agreement had been reached and a consent order of forfeiture would be filed.] Hearing Concluded.
                       Exhibits retained by the Court to be forwarded to the Clerks Office. (Court Reporter Viola
                       Zborowski) (rsg) (Entered: 03/24/2022)
03/23/2022 213         JURY VERDICT as to Mitzi Bickers (1) Guilty on Count 1s,4s−10s, and 12s. Mitzi Bickers (1) Not
                       Guilty on Count 2s,3s, and 11s. (rsg) (Entered: 03/24/2022)
03/24/2022 214         ORDER DIRECTING FORFEITURE OF PROPERTY as to Mitzi Bickers. Signed by Judge Steve
                       C. Jones on 03/23/2022. (rsg) (Entered: 03/24/2022)
03/24/2022 215         NOTICE OF SENTENCING Set as to Mitzi Bickers. Sentencing set for 7/12/2022 at 10:00 AM in
                       ATLA Courtroom 1907 before Judge Steve C. Jones. (pdw) (Entered: 03/24/2022)
04/20/2022 217         Notice for Leave of Absence for the following date(s): September 16 to 27, 2022, by Jeffrey W.
                       Davis. (Davis, Jeffrey) (Entered: 04/20/2022)
06/13/2022 218         Request for Leave of Absence for the following date(s):
                       07/21−22/2022,07/25−29/2022,08/01/2022,08/12/2022,09/02/2022,10/20−21/2022,12/12−16/2022,
                       12/19−23/2022,12/26−30/2022,01/02−06/2023, by Drew Findling. (Findling, Drew) (Entered:
                       06/13/2022)
06/14/2022 219         Notice for Leave of Absence for the following date(s): October 17 to 24, 2022, by Jeffrey W. Davis.
                       (Davis, Jeffrey) (Entered: 06/14/2022)
06/22/2022 220         Unopposed MOTION to Continue the sentencing date by Mitzi Bickers. (Goldberg, Marissa)
                       (Entered: 06/22/2022)
06/23/2022             DOCKET ORDER granting 220 Motion for Continuance of sentencing as to Mitzi Bickers (1).
                       Sentencing is continued to 9/8/2022 at 10:00 AM in ATLA Courtroom 1907. Entered by Judge
                       Steve C. Jones on 6/23/2022. (pdw) (Entered: 06/23/2022)
06/24/2022 221         NOTICE OF FILING Publication Declaration as to Mitzi Bickers filed by USA (Connors, Kelly)
                       (Entered: 06/24/2022)
07/13/2022 222         VERIFIED CLAIM as to Mitzi Bickers filed by Anytime Bail Bonding, Inc. (ddm) (Entered:
                       07/13/2022)


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08/23/2022 223         Return of Service Executed on 8/22/2022 as to Mitzi Bickers, as property was released to owner.
                       (ddm) (Entered: 08/23/2022)
08/24/2022             Document 224 is sealed. (ddm) (Entered: 08/24/2022)
09/06/2022 225         Sentencing Memorandum as to Mitzi Bickers filed by Mitzi Bickers (Attachments: # 1 Exhibit
                       Character Letters)(Goldberg, Marissa) (Entered: 09/06/2022)
09/07/2022 226         Sentencing Memorandum as to Mitzi Bickers filed by USA (Attachments: # 1 Exhibit A − 2012
                       Summary, # 2 Exhibit B − 2013 Summary)(Dillingham, Tiffany) (Entered: 09/07/2022)
09/08/2022 227         ORDER Amending Conditions of Bond as to Mitzi Bickers (1). Defendant will be on home
                       detention under the direction and supervision of the United States Probation Office until her
                       surrender to Bureau of Prisons for service of sentence. Terms of home detention wffl include
                       location monitoring, at the direction and discretion of the USPO. Ms. Bickers may be required to
                       pay all or part of the costs of the monitoring program. It is further ORDERED that Ms. Bickers will
                       be restricted to her residence at all times except for employment; education; religious services;
                       medical, substance abuse, or mental health treatment; attorney visits; court appearances;
                       court−ordered obligations; or other activities as pre−approved by the United States Probation
                       Officer. Signed by Judge Steve C. Jones on 09/08/22. (rsg) (Entered: 09/08/2022)
09/08/2022 228         Minute Entry for proceedings held before Judge Steve C. Jones: Sentencing hearing held as to Mitzi
                       Bickers. Oral argument heard. Defendant and supporters addressed the Court. Sentence imposed: 60
                       months incarceration as to Count 1, 120 months as to each of Counts 4−6, 168 months as to Counts
                       7−10, and 36 months as to Count 12, with all terms to run concurrent for a total term of
                       imprisonment of 168 months; 3 years supervised release as to Counts 1, 4−10 and 12, concurrent;
                       $900.00 special assessment; $2,955,106.51 restitution; voluntary surrender (with additional terms of
                       bond including location monitoring and home detention). Defendant was advised of her appeal
                       rights by the Court. (Court Reporter Viola Zborowski) (ddm) (Entered: 09/09/2022)
09/09/2022 229         JUDGMENT AND COMMITMENT as to Mitzi Bickers (1). As to Counts 1, 4−6, 7−10, 12,
                       Defendant is sentenced to CBOP ONE HUNDRED SIXTY−EIGHT (168) MONTHS: sixty (60)
                       months as to Count 1; one hundred twenty (120) months as to Counts 4−6; one hundred sixty−eight
                       (168) months as to Counts 7−10; and thirty−six (36) months as to Count 12, with all such terms to
                       be served CONCURRENTLY; Supervised Release for THREE (3) YEARS: three (3) years as to
                       Counts 1 and 4−10 and one (1) year as to Count 12, with all terms to run CONCURRENTLY; $900
                       Special Assessment; Restitution to City of Atlanta − Department of Law in the amount of
                       $2,955,106.51, to be paid jointly and severally with Elvin R. Mitchell, Jr. (1:17−CR−0015−SCJ)
                       and Charles P. Richards, Jr. (1−17−CR−0030−SCJ). The defendant has been found not guilty on
                       Count(s) 2, 3, 11. Signed by Judge Steve C. Jones on 09/09/2022. −−Please refer to
                       http://www.ca11.uscourts.gov to obtain an appeals jurisdiction checklist−− (ddm) (Entered:
                       09/09/2022)
09/14/2022 230         NOTICE OF APPEAL as to Mitzi Bickers re 229 Judgment and Commitment,,, 213 Jury Verdict.
                       Filing fee $ 505, receipt number AGANDC−12065702. Transcript Order Form due on 9/28/2022
                       (Attachments: # 1 Exhibit Judgment and Commitment Order)(Goldberg, Marissa) (Entered:
                       09/14/2022)
09/14/2022             Request For Presentence Investigation Report as to Mitzi Bickers re: 230 Notice of Appeal, filed on
                       9/14/22. (pjm) (Entered: 09/14/2022)
09/14/2022 231         USCA Appeal Transmission Letter as to Mitzi Bickers to USCA− 11th Circuit re: 230 Notice of
                       Appeal, filed by Mitzi Bickers. (pjm) (Entered: 09/14/2022)
09/14/2022 232


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          PRESENTENCE INVESTIGATION REPORT (Sealed) as to Mitzi Bickers. (ddm) (Entered:
          09/14/2022)




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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DmSION


 UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIIVONAL CASE

 V.                                                              Case Number: 1:1 8-CR-0098-SCJ
                                                                 USM Number: 71557-019
 MITZI BICKERS
                                                                 Drew Findlins and Marissa Goldberg
                                                                 Defendant's Attorney




 THE DEFENDANT:

 The defendant was found guilty on count(s) 1,4-10, 12 after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Tit!e& Section NatureofOffense Offense Ended                                                        Count


     18U.S.C.§371                     Conspiracy to Commit Bribery May 23, 2010


     18U.S.C.§1857                    Money Laundering                        December 31,2014        4-6
 And 18 USC §2


     18 U.S.C.§§ 1343 and 1349        Wire Fraud                              May 2013                7-10



 26 U.S.C. § 7206(1)                  Filing False Tax Returns                April 20,2012            12

 The defendant is sentenced as provided m pages 2 through 7 of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.


 The defendant has been found not guilty on Count(s) 2,3, 11.


 It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
 by this judgment are folly paid. If ordered to pay restitution, the defendant must notify the court and United States
 Attorney of material changes in economic circumstances.
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 DEFENDANT: MITZI BICKERS
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                                             September 8, 2022
                                             Date oflmpo^tiop of Judgment


                                                              1,^ c.
                                                                  LJ. ///^^
                                             Signature of Judge /


                                             STEVE C. JONES, U. S. DISTRICT JUDGE
                                             Name and Title of Judge


                                                      ^^M^M ^. ^£>3-y-
                                             Date ' /
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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: 1:18-CR-0098-SCJ Judgment-Page 3 of 7


 Judgment in a Criminal Case
 Sheet 2 - Imprisonment

                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
 a total term of ONE HUNDRED SIXTY-EIGHT (168) MONTHS: sixty (60) months as to Count 1; one
 hundred twenty (120) months as to Counts 4-6; one hundred sixty-eight (168) months as to Counts 7-10;
 and thirty-six (36) months as to Count 12, with aU such terms to be served CONCURRENTLY.

          The court makes the following recommendations to the Bureau of Prisons: that defendant be designated
 to FCI Aliceville for service of sentence.


          The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 Prisons: As notified by the United States Marshal.

                                                      RETURN

 I have executed this judgment as follows:




     Defendant delivered on to


     at _ , with a certified copy of this judgment.



                                                                            UNITED STATES MARSHAL




                                                                         DEPUTY UNITED STATES MARSRAL
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 DEFENDANT: MITZI BICKERS
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 Judgment in a Criminal Case
 Sheet 3 - Supervised Release


                                           SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a total term of THREE (3)
 YEARS: three (3) years as to Counts 1 and 4-10 and one (1) year as to Count 12, with all terms to run
 CONCURRENTLY.




                                        MANDATORY CONDITIONS


 1. You must not commit another federal, state or local crime.
 2. You must not unlawfully possess a controlled substance.
 3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
     15 days of release from imprisonment and at least two periodic dmg tests thereafter, as determined by the
     court.

 4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
     a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern Dist-ict
     of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
 5. You must cooperate m the collection ofDNA as directed by the probation officer.


 You must comply with the standard conditions that have been adopted by this court as well as with any other
 conditions on the attached page.
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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: 1:18-CR-0098-SCJ Judgment--Page 5 of 7


                                       STANDARD CONDITIONS OF SUPERVISION

 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
 imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
 by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

     1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
         time frame.
     2. After initially reporting to the probation office, you will receive mstructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
     3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
     4. You must answer truthfully the questions asked by your probation officer.
     5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
          notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
     6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
     7. You must work fuU time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
          from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
          excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
          at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
     8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
           convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
          the probation officer.
     9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
     10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         mmchakus or lasers).
     11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
     12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
          require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
          the person and confirm that you have notified the person about the risk.
     13. You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only

 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.eov

 I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
 term of supervision.




     Defendant's Signature _ Date
     USPO's Signature _ Date
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 DEFENDANT: MITZI BICKERS
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                                    SPECIAL CONDITIONS OF SUPERVISION

 As part of your supervised release, you must comply with the followmg special conditions of supervision.


 You must make full and complete disclosure of your finances and submit to an audit of your financial documents
 at the request of your probation ofScer. You must provide the probation officer with fall and complete access to
 any requested financial information and authorize the release of any financial information. The probation office
 may share the financial information with the United States Attorney's Office.

 You must not incur new credit charges, or open additional Imes of credit without the approval of the probation
 officer.


 You must pay any ordered financial penalties in accordance with the Schedule of Payments sheet of the Judgment.
 Payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary
 penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility
 Program, are to be made payable to the Clerk, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive,
 SW, Atlanta, GA 30303. Any balance that remains unpaid at the commencement of the term of supervision shall
 commence within 60 days after release from imprisonment on the following terms: payable at a rate of no less
 than $250.00 monthly to U.S. District Court Clerk. You must notify the Court of any changes in economic
 circumstances that might affect the ability to pay this financial penalty.


 You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
     1030(e)(l)), other electronic communications or data storage devices or media, or office, to a search conducted
 by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
 You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
 officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
 condition of your supervision and areas to be searched contain evidence of this violation. Any search must be
 conducted at a reasonable time and in a reasonable manner.


 You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
 may be deemed to have evidentiary value of violations of supervision.
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 DEFENDANT: MITZI BICKERS
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 Judgment in a Criminal Case
 Sheet 5 - Criminal Monetary Penalties


                                         CRDMINAL MONETARY PENALTIES

 The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Special Assessment


 TOTAL $900.00

                    Restitution

 TOTAL $2,955,106.51, joint and several with Elvin R. Mitchell, Jr. (1:17-CR-OO 15-SCJ)
                   and Charles P. Richards, Jr. (L-17-CR-0030-SCJ)


 If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
 specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
 § 3664(i), all nonfederal victuns must be paid before the United States is paid.

     Name of Payee Restitution Ordered

 City of Atlanta - Dept. of Law $2,955,106.51
 c/o Nina Hickson
 55 Trinity Ave., Suite 5000
 Atlanta, GA 30303




 *Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 1 14-22.
 ***Fmdings for the total amount of losses are required under Chapters 109A, 110, 110A, and 1 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23,1996.
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


UNITED STATES OF AMERICA,                      ) Case No. 1:18-CR-0098-SCJ-LTW-1
                                               )
                                               )
       vs.                                     ) NOTICE OF APPEAL
                                               )
MITZI BICKERS,                                 )
                                               )
               Defendant.                      )
                                               )
                                               )


                                     NOTICE OF APPEAL

       Notice is hereby given that Defendant, Mitzi Bickers, in the above-captioned case hereby

appeals to the United States Court of Appeals for the Eleventh Circuit in the attached Judgment

in a Criminal Case entered in this action on the 9th day of September, 2022.


DATED: September 14, 2022



                                                            Respectfully submitted,


                                                            /s/Drew Findling______________
                                                            Drew Findling
                                                            Georgia Bar No. 260425

                                                            /s/Marissa Goldberg____________
                                                            Marissa Goldberg
                                                            Georgia Bar No. 672798

The Findling Law Firm
One Securities Centre
3490 Piedmont Road
Suite 600
Atlanta, Georgia 30305
404.460.4500




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


UNITED STATES OF AMERICA,                       ) Case No. 1:18-CR-0098-SCJ-LTW-1
                                                )
                                                )
       vs.                                      ) NOTICE OF APPEAL
                                                )
MITZI BICKERS,                                  )
                                                )
               Defendant.                       )
                                                )
                                                )


                               CERTIFICATE OF SERVICE

This is to certify that I have this day served counsel for the opposing party in the foregoing
matter with a copy of the within:

NOTICE OF APPEAL

By electronic service:

       AUSA Jeffrey Davis
       AUSA Nathan Kitchens
       AUSA Tiffany Dillingham

       U.S. Attorney’s Office for the
       Northern District of Georgia

This 14th day of September, 2022.

                                                              Respectfully submitted,


                                                              /s/Marissa Goldberg____________
                                                              Marissa Goldberg
                                                              Georgia Bar No. 672798




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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DmSION


 UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIIVONAL CASE

 V.                                                              Case Number: 1:1 8-CR-0098-SCJ
                                                                 USM Number: 71557-019
 MITZI BICKERS
                                                                 Drew Findlins and Marissa Goldberg
                                                                 Defendant's Attorney




 THE DEFENDANT:

 The defendant was found guilty on count(s) 1,4-10, 12 after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Tit!e& Section NatureofOffense Offense Ended                                                        Count


     18U.S.C.§371                     Conspiracy to Commit Bribery May 23, 2010


     18U.S.C.§1857                    Money Laundering                        December 31,2014        4-6
 And 18 USC §2


     18 U.S.C.§§ 1343 and 1349        Wire Fraud                              May 2013                7-10



 26 U.S.C. § 7206(1)                  Filing False Tax Returns                April 20,2012            12

 The defendant is sentenced as provided m pages 2 through 7 of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.


 The defendant has been found not guilty on Count(s) 2,3, 11.


 It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
 by this judgment are folly paid. If ordered to pay restitution, the defendant must notify the court and United States
 Attorney of material changes in economic circumstances.
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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: 1:18-CR-0098-SCJ Judgment - Page 2 of 7




                                              September 8, 2022
                                              Date oflmpo^tiop of Judgment


                                                               1,^ c.
                                                                   LJ. ///^^
                                              Signature of Judge /


                                              STEVE C. JONES, U. S. DISTRICT JUDGE
                                              Name and Title of Judge


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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: 1:18-CR-0098-SCJ Judgment-Page 3 of 7


 Judgment in a Criminal Case
 Sheet 2 - Imprisonment

                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
 a total term of ONE HUNDRED SIXTY-EIGHT (168) MONTHS: sixty (60) months as to Count 1; one
 hundred twenty (120) months as to Counts 4-6; one hundred sixty-eight (168) months as to Counts 7-10;
 and thirty-six (36) months as to Count 12, with aU such terms to be served CONCURRENTLY.

          The court makes the following recommendations to the Bureau of Prisons: that defendant be designated
 to FCI Aliceville for service of sentence.


          The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 Prisons: As notified by the United States Marshal.

                                                      RETURN

 I have executed this judgment as follows:




     Defendant delivered on to


     at _ , with a certified copy of this judgment.



                                                                            UNITED STATES MARSHAL




                                                                         DEPUTY UNITED STATES MARSRAL
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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: L18-CR-0098-SCJ Judgment - Page 4 of 7


 Judgment in a Criminal Case
 Sheet 3 - Supervised Release


                                           SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a total term of THREE (3)
 YEARS: three (3) years as to Counts 1 and 4-10 and one (1) year as to Count 12, with all terms to run
 CONCURRENTLY.




                                        MANDATORY CONDITIONS


 1. You must not commit another federal, state or local crime.
 2. You must not unlawfully possess a controlled substance.
 3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
     15 days of release from imprisonment and at least two periodic dmg tests thereafter, as determined by the
     court.

 4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
     a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern Dist-ict
     of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
 5. You must cooperate m the collection ofDNA as directed by the probation officer.


 You must comply with the standard conditions that have been adopted by this court as well as with any other
 conditions on the attached page.
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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: 1:18-CR-0098-SCJ Judgment--Page 5 of 7


                                       STANDARD CONDITIONS OF SUPERVISION

 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
 imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
 by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

     1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
         time frame.
     2. After initially reporting to the probation office, you will receive mstructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
     3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
     4. You must answer truthfully the questions asked by your probation officer.
     5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
          notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
     6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
     7. You must work fuU time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
          from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
          excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
          at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
     8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
           convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
          the probation officer.
     9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
     10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         mmchakus or lasers).
     11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
     12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
          require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
          the person and confirm that you have notified the person about the risk.
     13. You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only

 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.eov

 I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
 term of supervision.




     Defendant's Signature _ Date
     USPO's Signature _ Date
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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: 1:18-CR-0098-SCJ Judgment - Page 6 of 7



                                    SPECIAL CONDITIONS OF SUPERVISION

 As part of your supervised release, you must comply with the followmg special conditions of supervision.


 You must make full and complete disclosure of your finances and submit to an audit of your financial documents
 at the request of your probation ofScer. You must provide the probation officer with fall and complete access to
 any requested financial information and authorize the release of any financial information. The probation office
 may share the financial information with the United States Attorney's Office.

 You must not incur new credit charges, or open additional Imes of credit without the approval of the probation
 officer.


 You must pay any ordered financial penalties in accordance with the Schedule of Payments sheet of the Judgment.
 Payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary
 penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility
 Program, are to be made payable to the Clerk, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive,
 SW, Atlanta, GA 30303. Any balance that remains unpaid at the commencement of the term of supervision shall
 commence within 60 days after release from imprisonment on the following terms: payable at a rate of no less
 than $250.00 monthly to U.S. District Court Clerk. You must notify the Court of any changes in economic
 circumstances that might affect the ability to pay this financial penalty.


 You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
     1030(e)(l)), other electronic communications or data storage devices or media, or office, to a search conducted
 by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
 You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
 officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
 condition of your supervision and areas to be searched contain evidence of this violation. Any search must be
 conducted at a reasonable time and in a reasonable manner.


 You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
 may be deemed to have evidentiary value of violations of supervision.
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 DEFENDANT: MITZI BICKERS
 CASE NUMBER: 1:1 8-CR-0098-SCJ Judgment - Page 7 of 7



 Judgment in a Criminal Case
 Sheet 5 - Criminal Monetary Penalties


                                         CRDMINAL MONETARY PENALTIES

 The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Special Assessment


 TOTAL $900.00

                    Restitution

 TOTAL $2,955,106.51, joint and several with Elvin R. Mitchell, Jr. (1:17-CR-OO 15-SCJ)
                   and Charles P. Richards, Jr. (L-17-CR-0030-SCJ)


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